       Case 2:15-cv-07600-PSG-AS                     Document 22 Filed 10/11/16             Page 1 of 87 Page ID
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    TIE[~II MINH NGUYEN
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    Vacaville, Ca 95696-2500
                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER
    TIEN MINH NGUYEN                                                         2:15-cv-07600-PSG (AS)
                                                                                          To be supplied by the Clerk
                                                      PLAINTIFF,        THIRD AMEI~DID COMPLAINT
                                       v.
    J. LEWIS-DEPUTY DIRECTOR                                CIVII.. RIGHTS COMPLAL~TT
    T. MACIAS-CEO. HIRING AUTHORITY                             PURSUANT TO (Check one)
    S. LEE-DOCTOR OF MEDICINE   DEFENDAIv~'I'(S). ~ 42 U.S.C. § 1983 JURY TRIAL DEMAND
                                                  ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

A. PREVIOUS LAWSUITS

     1. Have you brou;ht any other lawsuits in a federal court while a prisoner: ~ Yes        ❑ No

    2. If your answer to "l." is yes, how many? One, cv 05-130-LAB (JMA)

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the addirional
                                                                                                               lawsuits on an
          attached piece of paper using the same outline.)
   In the UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF CALIFORNIA (SAN DIEGO)
   DCKET N0: cv-05-0139-LAB (,1MA)


   NGUYEN, TIEN MINH
   Plaintiff

           V.
   G.J. GIURBINO, WARDIN
   J.L. NICHOLS, COUNSELOR CC1
   J.A. GROSSET-IUD. TECHIV. ASSISTANT
   Defendents




                                                      CIVIL RIGHTS CO'.KPLAL'VT
CV-66(7/97)
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               Case 2:15-cv-07600-PSG-AS                          Document 22 Filed 10/11/16                          Page 2 of 87 Page ID
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             Vacaville,CA95696-2500

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             TIEN MINH NGUYEN
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                                                                                                       CI~TL RIGHTS CO~IPL~~I'
            J. LEWIS- DEPQTY DIRECT
                                    OR
            T. MACIAS- CEO. HIRING ~.~
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                                            i ~~                                    S rt~ Li.S.C. ~ 1953   JURY TRIAL DEMAND
            S. LEE - DOCTOR OF MEDI I~E
                                                                                    ❑ Bi~ens ~. Si.~ lin.~o«-n A~en~s ~0~
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                     SOUTHERDI DISTRICT OF CAL
                                                           IFORNIA ( SAN DIEGO
            DOCKET No: CV - 05 - 0130-
                                                     LAB (JMA~1


                         VGUYEN,1^IEN NIIIVH
                         Plaintiff

                                         V.
x
~.                      G.J. GIURBINO,WARDEN~
                        J.L. NICHOLS COUSELOR CC1
                        J.A. GROSSET- MED. TECHN. ASS
                                                      ISTANT
x                       Defendants




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                Case 2:15-cv-07600-PSG-AS                     Document 22 Filed 10/11/16                            Page 3 of 87 Page ID
                                                                     #:304
                     a. Parties to this pre~~ious la~~~sui[:
                        Plaintiff NGUYEN,TIEN MINH


                          Det.ndan~s    G.J. GIURBINO.WARDEN
                                         J L     NICHOLS CC1 & J.A. GROSSET,MTA (Clinic,D
                                                                                          yard)
                     b.   COl1I'I       fTnTTTR7~ ~TA'PFS T~T~TRT('T C'O TRT

                                        SOUTHERN DISTRICT OF CALIFORNIA
                 c. Docket or cast numbzr          CV-05- O 1 30-LAB (JMA)
                 d. i~~amz ofjudge to ~thom case ~tias assigned LARRY A. BURNS
                 e.       Disposition (For e~amplz: ~ti'as the cFa~~iisrrt~i~~~~~t~o,~~hat~ta
                                                                                             tt~iz ~as~~ordismissal? ~"as it
                          appealed'' Is it stil(pendin~?) _For "Failure to state a claim
                                                                                         "
                 f.       Issues raised: ~~r~en violates I/M First Amend. US Consti
                                                                                    tution to reach
                           higher level Appeals (CDC 602 disappeared at 1st level)- CC1 NICHOL
                          WANTONESS - J.A. GROSSET MTA. denies Dental Care: Retaliation

                 Q        ~ppro~imate date oFfilinv lawsuit:      May 2005

                 h. :~ppro~imatz da[z of disposition              Mar 2007



      S. E~-L~USTIO~i OF ADILi~iIST'R~TI~'E REI~LEDIES

            L. Is there a ~rie~~snce procedure a~~ai~ablz at the institution -here thz
                                                                                       e~~~nts relatin« to your current complaint


           ~. Hai e ~ ou fi!zd a Qri~~ ancz concerning the facts r.latin~ to `our
                                                                                  current                complaint:' ['-'~,, ~"es   ❑ do
                If ~-otir ans« e; is no, etplain ~~, h~ not




          3. Is the ~rie~,ancz Frocedur~ cocttp~~[ed'' ~ ~'e~              ❑ No

                If ~ our ans~t zr is no, explain c~ h~ not

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r         -~. Please attach copiz~ of papers r~la~ed to the ~riz~ ance procedure.

     C, ,TURISDICTIO~

          This complaint allzQ~s that the civil rivhts oFplaintiff TIEN MINH NGIIYEN
           At INITIAL FILING OF COMPLAINT:                                      (print
                                                                       plaintiffs name)
—         ~~ho preszntl~ resides at CALIFORNIA MEN'S COLONY WEST/ PO.BOX 81 03
                                                                                      CA 93409
                                                                        (_mailing addres or place of cont~nement~
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           CALIFORNIA MEN'S COLONY WEST/ PO.BOX 8103- Dorm 23 fcted                                  against p(aintiffat
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                                                     San Luis Obispo,CA93409                                                               z
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 Case 2:15-cv-07600-PSG-AS    Document 22 Filed 10/11/16   Page 4 of 87 Page ID
                                     #:305

                               UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA


   TIES MINH NGUYEN
       Plaintiff                              ) SECOND AytE~DED C0~[PLAI
                                                                         NT
            V.                                1   Case no. 2:15 -c-v -07600-PSG -AS
   J. LEWIS, Deputy Director
   T.rIACIAS, CEO, Hiring Authority               JURY TRIAL DEMAND
   S.LEE, D.Q~tor _ of Medicine               )
            D efendants                       )
                                                      LIST OF PARTIES


1 - Plaintiff TIEN MINH NGUYEN,DOB:DEC.09-1937,who at the time of
                                                                  initial
   COMPLAINT FILING DATE is prisoner at the CALIFORNIA MEN'S COLONY
                                                                    PRIS
PRISON; now after recent transfer is currently prisoner at the
                                                               CALIFORNI
MEDICAL FACILITY - Vacaville,CA 95696-2500.


2- Defendant J. LEWIS Deputy Director California Prison Health Care
                                                                    Srvs
Reviewer of Third Level I/M Appeals not only violated Constitutional
Liability, but also contributed to the retaliation against plaintiff. He
is sued in his individual capacity.


3- Defendant S.LEE,MD, underhandedly prescribed noxious overdose medicin
nes with premeditation and conscious disregard of inmate plaintiff's
Health and Safety,causes serious internal injuries. His acts
                                                             amount to
deliberate indifference,violating the 8th Amend. Constitution
                                                              rights of
plaintiff. He is sued ender his individual capacity.


4- Defendant TERESA MACIAS-CEO- Hiring Authority- Designee" and reviewe
                                                                        r
of both the 1rst & 2nd Levels Appeals violates plaintiff's First Amend.
U.S. Constitution by taking retaliation against plaintiff. She is sued
under her individual capacity.


        At all time relevant tothe events described herein,
        all the defendants have acted under color of State Law.




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                 Case 2:15-cv-07600-PSG-AS                           Document 22 Filed 10/11/16                    Page 5 of 87 Page ID
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                           tine 1 ~) defendants, rna~z a copy of this page to proti idz the information for additional
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                                        Summary of Pleading - 1
                       Case 2:15-cv-07600-PSG-AS                      Document 22 Filed 10/11/16      Page 14 of 87 Page ID

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                                                          0-2014    Dr LEE was concerned about
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                     19 ~~     '  not takin      our meds correctl and WROTE
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                     20 ~~~;~.,~      - .rhana~r7 from KOP to DOT , he also WROT
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                    21 j                                          0 m       to be taken DOT.[(and he WROTE...~~d ALSO

                    22 7 r~rRnTF                inthe end he did not"WROTE" nothing)] All this is
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                    23                                   h ou h two documents attached ( ..Exhib # ~C~'-
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                    2~ L +-rA rlat-P of ,7u1v 24th,2014 ( after 23 days
                                                                        of premeditation) that
                    2~                          '"           ntinued" the Losartan 50mg prscribed by ER,s
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                   20                                on KOP then immediately efilled the same Losartan
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                   27 ~ nn t-hP Finale one Rx#156877281
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U R7 PAPER                                                        1                              ~sEs7~2 R-~
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               Case 2:15-cv-07600-PSG-AS                       Document 22 Filed 10/11/16             Page 15 of 87 Page ID
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                          1 It w 's                        ha *" nr LEE 's order did not qo into
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                       2     ntil Jul
                                   24th 2014"? what would the Medical
                                                                      ~'nmmt~rilt think of thi .~
                        3 ?~~~~~ 9th Circuit in LQLLI V. V. COUNTY OF ORANGE 351 Fad
                                                                                         418,

                       4                                   re uires committing physicians to "exercise jud-

                       5.                                   of substantial and professional criteria that

                       6                                   standards        enerally accepted in the medical com-
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                      7~        •r "                 A    STATE OF COLE b         PARDUE V. FROMM,94 Fad 254,257
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                      8 -'                               Deliberate indifference..."may be inferred based

                      9~                                  fessional's erroneous treatment decision only

                    l~~                                    nal decision is such a substantial departure

                    1.L           cce ted           rofessional judgment,practice,or standardas                                to de
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                    1:? ,,a -     rate that the                 ersone responsible did not base the decision

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                1S: ~                 - HAYES V. SNYDE                  546 Fad 516,523 (7th Cir.2008) Objective

                1:~                             of necessar /self reporting may be the only evidence

                lE :~                 _                         A      eals Court has recently held that the ser

                li -                                      ical need is not determined exclusively on the
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               19 ,~                                           745 753       10th Cir.2005)

               20                  -                            nurse of treatment....was chosen in conssci-

               21 j                               f an excessive risk to             the prisoner'sN Health"

              22                      V     CLING 391 Fad at 1059

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              2~           n rrrT ~II' VIOLATION OF DUE PROCESS CLAUSE                     By interference with
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              25                          p risoner bodily integrity without good reason.

              26                  7- The Common Law Right to refuse treatment is part of

             27 "Informed Consent" Courts have held that the Constitution protect

                          risoner's right of informed consent. CRUZAiV by CRUZAN V. DIr_MO
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O I IJ cREV. 8721
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~3 _and damages would ,not have occurred and further that such
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~ g depression and_ fear of _uncertain _future.______
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       t o the Mc GUCKIN case, the plaintiff suffered palpitations
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~~ ILLNESSES THAT "significantly affect the "daily activi
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   ~~By placing my ~tttials n this box, I waive                                                               right to receive an Interview

     C. First Level - StaH Use Only -                                                                       5~aH - G~ ~~'~ :~ c I, ~.D ~ fr, ~'~ N r~ t~ -r! ~,~:,s
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     This appeal has been:
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     Bypassed at the Fret Level of Review. Ga to SecCion E.
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     Rejected (See attached la:terfor instruction)                                Date                                                                                    ~.
                                                                                                                     Date:                       Date; ~          __ ~~'.e:
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~Canc~lted (See attached lever}: `                                                Date:
     Accepted at the First Level of Review
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     Assigned to_ .,_C ~` ~ ~ MIS                               _-                        ~ _Title:                                      Date Assigned: 8 ~Z 1~Da!e ~ue~q 2

Fist Level Responder: Complete a First Leve[ response. Include Interviewer
                                                                             's name, title, interview date, location, and complete
                                                                                                                                    the section below.
                    Gale of interview: ,,. _        ~ ~7i  ~              lnten~,gw Location:           ~'~'~ - L~`
                                            ----~__ _                   _                                                  ""
Yourappeal issue is                                                                                                     ~J~_ ___ -         ---     __
                                    Granted            ❑ranted in part       denied               ~Qiher.
See attached letter IF dissatisfied with Fir~i Level response, complete Section D.
Intervievrer:~:_~ -1.%                        n u      -~_~r-z~cT~a. _~f'`~.__ Signature:                                                     ~=11/                       ~a;a completed:~f~cr
               IamnN                         af~' , I..                                                                                                                                    ~, z
Reviewer,                 (~'~~                                                 Title:                           Signature:
                         f    f ~P~~~ N~,r
                        i~J  / ~~                                                                                                              HGAC se Only                      '~~~~
Date received by HCAC~~f~.:~~
                                                                                                                                               Date mailedldelivered to appellant:
   _ Case 2:15-cv-07600-PSG-AS
             .r ,~ _ _,. ._   ,.
                                 Document 22
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                                                                                            Filed 10/11/16                       Page 29 of 87 Page ID
                                                                  _             #:330
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           Case 2:15-cv-07600-PSG-AS, Document 1 Fifed 09/28!15 Page
                                                                     ~~~"6~CP~~`I~~' _ ~J
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        STATE OF CAL1=pRNlA                                                                                     ❑EPaRTatEUT d~ GOP.REGTIONS Ayp nom.`-1,~31_I\ATION
        P ATIENTANMATE APPEAL :
                                                                                                                                                   i;i~ 2
        CDCR 602 NC {REV.04(11)
        D. If you are dissatisfied with the First Levef response, explain tha reason. balos~~, attach supporlin~
                                                                                                                 documents and submit to the Health Gare
        A ppeals Ccord~nator for processing within 30 calar~dar days of receipt o~ ~e;ponse If you need
                                                                                                        more sG~ce, use Sectio~b of the CDCt~ 602A.
        r~~t~ 'rear j•,~rAov ~ a~sT~ xS3'Lf~7;~t'r;~~ 1~E
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      c~'F C~(~lt..~iirl~ ~~ f;l~ i.1'i'`~ Tt;~iC ~r l~lyu ~~~~GS~+ K~'ls~.._l11wtC{ ~iP;~ t~
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     ~ rp~;     ~'~iC.' ~                                                                            ii
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        Patienl1nmafe Signaturz:         _ }~"~-~                        ~                  __.         _ _ _ — Date Submi:ted:~~ ~'~                      ~
        E. Second Level -Staff Use Only                           ~ ~ta      Check One: Is CDCR 602-A Attached?                      ~,Yses   ~Vo
       This appeal has 'oe2n;
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       ~P.y passed a: Sacond Level of R ~[~w. l;o to 5~ction G
      ~R?,a~red (See a[tacl,er+ R tisr for ins7urtion~:         Dais ~
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            Assigned tc S.MO'ZtrtAu                                                                                                              ~-+f
                                                    —~~~~]3~1~a7S~}?~7E~S~OQC~1f11~QL0ate Assigned: ~~~}!~f ate' DuP: ~~1r                            J~~'~-
        Seeond LevAI R ~spGnder. Compa to a S ~ccnd Level respo~ se. Include In[e•vie~r,er'3 narre~
                                                                                                       !ills, inlarview data, Ic r~~iion, a i ~ cGm~lete the sect;un
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                             Daly of I~tervlea~, --~    ~p`               ------- In:>r~die;v Local;on:          ~------ - __
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        Sze attached I?t;e~. If dissatis~ied-v~~th second Level response_ comtde~N      ion G.
        Inta~va.~Fr.
                      __ ~, /~             __    ~ _.__      _ Title              Si~n3lur3       ~_ .~-                :~ _ D~ ~~,,~p~et~d:
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                   ~P„v r~~m~,                                                                                                                           ,~...,,~.,_.~
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      PatienVlnmate Signature                      ~~$~~t~~ ~ ~~'Z1                    ~/                     Date SubmRfed ~],~~„__                          % (~. _
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      G. Third Levu Staff Use Oni                         t.
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          R ?)~~c:e~ (See attached !attar fpr msfruct:on)~     Date: .               Date:                  _ Datr:                _Dare:
     ~Carcalled (See attach?d letter}:                         Date' _
1~ .~jP.cceFt~d a: the Third Level ~f Revieav                                —    --
        Yo~r appeal is            .~Gran[ed                       Granted ire pad '~enied
                                                                                   ~.                             Other.                          _     __ _             _
         SFe attached Tnird Level response.
                                                                                                 Third Level Use Only                    ~g     n
                                                                                                 Date mailedldelivered to apps!! '?:~LS,~i~41~~
      Request to Withdraw Appeal: I request
                                         at th thispa peal be withdrawn from further revie~r, because; State reason.
                                                                                                                     (If withdrawal is conditional, list
      conditions.)



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      PatlenUlnmate Signature:.._F             ~                                                   s .       '';Date
                                                                                                                 £ ~3 Submittq~
                                                                                                                      ~:"       i:~___~_ ._
      Print Staff Name:                                       7ltle: ~          -      Signature:}~,_                        G~~              Date:
                                                                                                            ,.,              ~
                                                                                                             4. C,r,E,                                               - _
       Case 2:15-cv-07600-PSG-AS         Document 22 Filed 10/11/16 Page 30 of 87 Page ID
 _._                         _. _.                #:331                                     _                                                                                       y
              Case 2:15-cv-07600-PSG-ASS Document 1 Filed Q9/28C15 Page 2~ of 64 Page ID
                                                                                         #:20
      `S;AT[ OF CALIFOR`!IA
      INMATFIPAR~LEE APPEAL FORM ATTACHMENT                                                                         1 DEPARTMENT OF CORRECTfONS A~VD
                                                                                                                                                               REHABILITATION
      CDCR E02-A (08;091
                                                                                                        ':
  ~                                  -   - ---- --   -   ----_ _ —_IAB 11SE ONLY ', InSGtulio                                                                          Sidc l
                                                                                              r'Parcle Reg              -- Log li: ~---                        Category.---,


                                                                                         j ~.                           FAR STAFF!!5E ONLY                                      I
      Attach thiti fvr ~7~ to the CDCR 60'', only it more space is needed. (duly
                                                                                            one CDCR 60Z-A ma~~ be used.
      Appeal is subject to rejection If one rovr of text per line is exceede
                                                                                 d.                          ~h'RITE, PRINT, or TYPE CLEARLY in black
      tJam= (L asr, rr~t).                                                                                                                                       or blue ink.
                                                                                       CDC Plumber:        1inA,Ccvl ~lurnbar~
            h`Gu~lti-N r `R~ ~1•                                                                                                            A9slgpmeflt:   -
                                                                                      Pil7SS              C Z3;27~                             ~~,~---_
   ~? Continuation of CDCR 602, Section A only (Explain _you r Iss~
                                                                         :_.~y~rti'_~~Jf1~lti ~1~L~r rj~_lL`N
 ..~      ~. - 11.,,E                                                                                           ~'+
  ri. z_-1~a~'-,~~'-      ~r,.~-~
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                                                               ,, 1___G~W ~`~ p~..5..~.~.1/^I"~' I` ~_«.LCI
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                                                                                                            _`~L' 1:' _                             R~C~.~~~~~~
  ~~1~1G~ YD'a9~K~_t1~AZz_Re'AS„N sti`ry" orb b,'b![4
                                                                                   v~5~i_~~`'1L~C1_'.E_CI~l~'it~l~
 C~~-PAIL-P~_~-1;"1_~i"'!~ (:2:~1''l~i?`I~, ciC.~--i0_F~Lt'~,~Dr.
                                                                                 L,(~~~=+?'t(; ~~~0~~! ~~~ ~~p~                                     ~L~ l ~ 2~~~
  wt. 1 gal ~, t~_ ~ 1_ ~1_r~i~ ] S ~C ~~~'~~~'NRD~~ NUl~St_''bURJ~L~_~
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  v,~~ict-~~r_2~~~~1-15~ ttEl:~;:_f~r~_~.~~ _ttil~?_ ti',a~_I.S ~U~H~~)
                                                                        _C                      CFFks7 c_~3_~11~~J~~;~_~-I~",~~~St
  i i'r~' ~, Li`,7~~1~~tZiJ~S r~DA~kY D.i~_r~'~-~h~GL'~_L}= f1~1~ 7                                                                               ~G~Ci~~~/,
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  InmatelParolee Signature:=.                    '~r~j,~~Y ~ ~ , ~~`f~'~ `,1''"_ _ Date Submitt ,d                                                              ,.
                                                     ~                     f) " ~                                                                 ~~~f
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Case 2:15-cv-07600-PSG-AS                           Document 22 Filed 10/11/16                          Page 31 of 87 Page ID
                                                           #:332




   Inmate~Psroles S~gnatcre: _                                     ________         _________ Date Submitted: __

   F,: Continuaticn of CDCR 602. Section Fanl~ (Dissatisfied with Secon:~ Level respa :se':7~f.
                                                                                                  (,L~1~~OX~OUS_U`1~13~J?L ~'~l~~4i~S1VJ~
 M ~~2S_F~S~~i~7i:.~N U:P.s C~i~?~ZitO U~tT Dr_HIS fl'~,Liv~CGG ~7,c7~-}{~.5._OWM VGA-tTl`UrL~G~i~ 61~SJ1~I~~1'ti_91'SI~24:~Ci
  ~L~P~1 ~,aA S~~'c N ~~]a f-APu' WLv_~'~ ~'J ~Ci3~r~.i~ TO _AVo~D ~.~CG r~ S~ ~'+~t 5 P~.N1~
                                                                                                        ~~2_s~,3.~1RY_-I3-~ _~t/JRS'F ~ 13Ct7
  C~L~,._~I~=—S~1~ USf3TR~~`7rD ;~t_~E~1LFrUl._~E_~"1-:M~1~.~ 'CUNs!e?1i~~,~ G,'G_ Ti-i,4~_ McD 4_D~S~G_ 1~,ru }7_13~~h~tl.
  F'Lc;rl~-[~_l~L W~~',b,irr'N 's ~_it/'~i<;ui ~OL~J_ f~l C~S~,?5`~7~_Z~F`_D4St~NLt~~~Svt~~y ,4P~t'~;~,L'kl~d`~7~ - ~
 ~~ ANT%28~«X~12SLc3f~,;~_t~ tr,_7.3E~_~~i~.isr_sr~~~a_rt~:l,.cr.;c-_`r~~,_t~i~;cVrR Tl~r'sJ3~z si~~Y"p
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 r~1,:~GE~F~1-Cc: _u,w~lL 7~~~f1~._-~~.~r~Fprl2~tJt~_C"~~ 4'l~I~'s'ivTL.'~ C~.~1~~t FI C,a_lOrl_~:r~r~~.iuRd~~-7 1
     •. ,,                                                                                                                            ~`~~`0
 c~..~~1~   ~ ~~~~.~~v~~~s~ ~1YL4t16.S. _~{~~~~.~~~:1Y1(Cz_D~~l_~1rt~IL .~~CJ' U~~ G~,_~.ti~,     ~    ,.
                                                                                                          Vt~i; ~n~~~~~-__
       r
       ~~ f5r~'g$11~~t'6LQF s9.1~~ I~~~~ON~~_57~~E~~fA-~~l~~~_~c'(~1lE~~L'SIIG~L{~k
                                                                                                            ~?1G 7J i`~S ~r1~~}Ur PL°~ .
 exf~71S~.1}~.~-tr~lA-~ ~~~«?!~~~1~C~.~Yr tr!i          !~ TI~L.~t~~~h~~AN~ ~~.1t7~7~U5 ~ "~Fy~ ~Sf.U~~?M-f~P~-~.4L
 I`~`rDc 1.Fet~P~SCt~ 1 ~3~.1uY1~lCi.~.a- 2v~t?1Zu1"L~ .~1cD.JE~
                                                               }~`h`E _ SiAFF +N~'!'~13tIi__K/}}t~ _~R1~Le`h YsJ[~ -F~1'TdD~—YoL1 ~1,~N
'7r?1S_1~ytul~~~1~~`Ju17--BFp~,~1t.~~t~~_u,,r~i~~t/1st ~N~~1,ts~tL•_ti.uou~~_Tk~it~!-~-~tRT__~:Ii2C.
                                                                                                                   'N~- A~~-S_;F~lv~:s
~'~~tcs7l~y FaR.4~1,EC-l~..r~ntp~D `l'~r.-ll~' Pr'}'~r~.~l~i/k   -                      J't~~'G:~14             S~XN~71~A~1~1.0
~i-Sr.~pt~~#~A~'1~~2             `t~tu~~_,~~'~-~'~t~~r,~u;~t~7~~~,;~ ~tE:P~4T1~'2li~~,~~"hr~_~~ES~7~'_ltiS~i~QN~
U F~> ~L~rZlt~i.-L .~~"~~=~'~.C7TL-I/1''i WE'rF;=_?fic~.tcr~.t~`,.~t~.!_~?1`j t~.y~-~31~~
                                                                                          L-~2J'l~►~LTkES~► Lr-~1-~
~~_;~Br~~E~_W_N.ssa~lE~~t;t~~'--~5_~1',~Y~i.~:t~~._1R~~~S~..SYs_4~~1+'s C~H~ED ~Y~?~~
                                            a                     _                 ,                            ~~~-
~qS~ ~12~!l. l'~r, ~.E ~' _~ S~~L~I~xE.~?          _ _ RCS P{;=C ~ FGI l.t~ SGG811'1~7~'~"~ __:. _ - __._
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                               ~=              ~}
  inm~t~lPa~aieeSignature:       ^~^;          '~   -     `~~~~;/~
                                                                 ~~ ~I1`.".
                                                                        ~/--_,                      Date Submitted:.~[~~~~     ~~~- —
Case 2:15-cv-07600-PSG-AS                    Document 22 Filed 10/11/16                       Page 32 of 87 Page ID ~~
                                                    #:333
  Case 2:1      - 7600-PSG-AS         ocu          Filed 09/28/15 Page 22 of 64 Page ID #:22
  I wish to omplain about the individual named below I
                                                       understand that the Medical Board does not assist
  citizens seeking re ~ ~ ei money or o           personal remedies. I am, however, submittin; this
  information so that it may be determined whether disciplinary
                                                                action against this practitioner's license
  should be considered.

   Check ooe:   ~                                   .;,                _
                                                                 -                                   ;.
                    Physician ~ Paliatrist   ~ physician    ~ Registered Dispensing ❑ lfidwife ~
                     (b1.D.)    (DPIO         Assistant(PA)                                      Unlicensed
                                                              Optician(RDO)                      Provider


   CO.bIPLAlIVT REGISTERED ACAl1VST
                                                                                                     pease Print or Type

  Name:
                     (Last Name)                              (First Name)                                  (M.[,)
  Office/Facility Name:
                                                                           License No.(if known)•

  Street Address:
                             (Address)                        (City)                       (State)          (Zip Code)

  Phone Number:
                                             ..
  ~Ias the patent been examined/tzeated~i.}~an~               ..            .: ,.
                                                thes professional,for";this same  condition?~
   ❑ No ❑ Yes           If yes, provide the name and address on the Author
                                                                             ization for Release of Medical Information

  Reason for Treatment:

  Dates)of Treatment:


                                             DETAILS OF C01~1PLAINT
                                         (Attach additional sheets if necessary)




                                                                                                                           r'
Case 2:15-cv-07600-PSG-AS                               Document 22 Filed 10/11/16                                   Page 33 of 87 Page ID
                                                               #:334                                                                                         ~~
   Case 2:15-cv-07600-PSG-AS                                 c      ,r            I


               1~,.,.
                        ~.~"~CHME                             ~` ~.~                      9/28/15 Page 27 c+~6~                            ~ Ib~;P~l ~~~




                                  ~EALI"H CARE SERVICES                                                                                              ~,~~y
     pate:       10/6/2014
                                                                                                 REJECTION NOTICE
    To:         NGUYEN,TIEN (P12755)
                G 023 1000027E
                California Men's Colony
                P.O. Box 8101
                San Luis Obispo, CA 93409-8101
    TracEcing/Log #:                  CMC HC 14048553

   It has been determined your appeal submitted does not comply
                                                                with appeal procedures established in the
   California Code of Regulations(CCR)Title 15, Article 8, and
                                                               is being rejected and returned,to you for the
   following reasan(s):

    Missing Necessary Supporting Documents: CCR,Title 15, Sectio
                                                                       n 3084.6(b)(7) states, "The appeal is missing
    necessary supporting documents as established in section 30843
                                                                  ."
       • You are attempting to submit your appeal for a Second Level
                                                                         of Review(SLR)however your First Level
            of Review (FLR)is missing. You need to attach your FLR to
                                                                         the appeal and resubmit.                 '_
   Not on Approved Forms: CCR, Title 15, Section 3084.6(b)(14
                                                                  ) states, "The inmate or parolee has not submitted
   his/her appeal on the departmentally approved appeal forms" and
                                                                    Section 3084.2(a) indicates you are limited to
   the space provided on the CDCR 602-HC, Patient/Inmate Health
                                                                    Care Appeal, and one CDCR 602-A,
   Inmate/Parolee Appeal Four► Attachment (08/09).
       • CDCR 602-A is not produced on pink paper. It is produced
                                                                       on green paper. Resubmit using the correct
            form
       • If you are dissatisfied with your SLR you should complete
                                                                      section D of the CDCR b02-A.
  For your appeal to qualify for processing, you are advised to take
                                                                     the necessary corrective action provided in this
  notice and resubmit the appeal within 30 calendar days.




  Mozingo, S.
  Health Care Appeals Office
  California Men's Colony




                      RECEIVE

                        ~~T 2~'~ 201                                                                                            ~~C `51p~G

                                             eals
                Health oaf e App

 Rejection Note: Be advised Thal you cannot appeal a rejected appeal, but should take
                                                                                      the corrective action necessary and resubmit the
 timeframes, 30 calendar days, as specified in CCR 3084.6(a) and CCR 3084.8(6).                                                        appeal within the

                                           '•*PERMANENT APPEAL ATTACHMENT-DO NOT REIvfOV
                                                                                                              E*•*         ~ ~ 4 ~ ~"~, 8
                                                                                                                                             S
                                                                                                                            ~   d~~ ~. ~
     Case 2:15-cv-07600-PSG-AS                                               Document 22 Filed 10/11/16                                             Page 34 of 87 Page ID
            Case 2:15-cv-07600-PSG-AS.,Document 1 Filed 09/28/15
                                                                                    #:335                                                                                                                 .,~~
                                                                                                                                           ag 3 of 64                  a         I    ~`~ 2
    STATE OF CALIFORNIA                                                            ~                                                      DEPARTMENT OF CORRECTIONS AND REHABILITATION
r   INMAT,~JPAROLEE REQUEST FOR INTERVIEW, ITEM OR SERVICE
    CDCR 22(10/09)

    ~'     CC/~TI/1►1 A. Ih111AATG/OA ~A1 CG ~CAIIL~[~T

          NAME (PrInQ:   (LAST NAME)                                      (FIRST NAME)                   COC NUNBEA:                           SIaNA   R
                         N'G G~l~'N TI~`v                                                                    ~/.27SS                                        ~/~          ..
          HOUSWG~BEO HUMBER:                          ASSIGNMENT:                                             -                                TOPIC (I.E NAIL,'CO;WTION OF CO BIEMENT AHOLE ETC. :
             ~,~ ~
                          ~1..~.
                             q 7r~                                  ~~--~-                              HOURS FROM               TO           ~tSu~~M ~r }1C X404 $Ss 3
          CLEARLY STATE THE SER~(ICE OR REM REQUESTED OR REASON FOR INTERVIEW:
     -- ~;~sr A FFiR M ~1'' T                                       " ~'FT_L-~ ~~N NDifC '~/ !?/~7Cp ~D 6' 201~~~' R                                                       ~i-.~dnf~ M%s`S'



     — ~-irFtir           ~cirriKi~l            ie"(cty rrc~        ~~i~~a                   iu uu i     ~    ~cw~~t~er               L.i~rX ov.c /^~ L711 C7~~~:~ N-~{~t'PC
     A~r~ Pa~vi~= _s~~oPa&~inr~ .~o[c1~sl~Zlli~.L~mc~LR.~S~LYIiT ;ran SFCDnr~2.,
                                                                               c Y~L AP~~~.S--H~
    _ I~Es~t~T~'ULL~_
          n~rHo~ of ~euvEeY (c~cx nreROPe~a,~ sox ~ **NO RECEIPT WILL BE PROVIDED IF REQUEST IS MAILED
                                                                                                                                                            ** /
            SENT THROUGHMA[L: ADDRESSEDTO:MU~/,~GD~~               NCB ~PPEL~LS Cf9D~yD~,{~                                                        C
                                                                                                                                                   ,~Je,DATEMAILED:`~/~/~
          ❑ DELIVERED TO STAFF(STAFF'f0 COMPLEi'8 BOX BHLOW AND GIVE GOLDENROD COPY 70
                                                                                       WMATF/PAROLEE):
          RECEIVED BYA
                     : gRINT STAFFNM1E      -                         DATE:                  ~          SIGNATURE        A                                      FORWARDED TO ANO~J1~gSTAFFT           -
            ~.!
              r A// O ~ Y~ ~}                                             l)
                                                                           . '~ r/ .~ ~ ~~
               V- l                                                                                               ~.'/~                                        (CIRCLE ONE)      ~ YES /
                                                                                 v                                   (/                                                                    NO
                                                                                                                                                                                  ~~

         IF FORWAFDEO-TO WHOM:                                        p                                 DATE OEtIVEREDRAAILEO:                                  ME7HOU OF UELIVEHY:
           I
           ' J D.G ~NG~~ ~+~ 'r ~~ ~~~~~
                                         ✓                                 ~~F~
                                                                              '~^                              / V ~ / / ~'~                                   (CIRCLE ONE) M PEpSON       BY US MAIL
                                                                                                                       lD

         SECTION B: STAFF RESPONSE
         flESPONDIN6 STAFF NAME:                                      DATE:                            SIGNATUpE:                                              DATE RETl1pNED:
         S~~ M~Z~ 1'-1                                                ~ u~2G
                                                                                         I             -~                             ~        ~                 10~2c'~ I '~{--




         SECTION C: REDDEST FOR SUPERVISOR REVIEW
         PROVIDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD TO RESPONDENTS SUPERVISOR
                                                                                                   !N PHRSON OR BY US 1~tAIL. KEEP FINAL CANARY
         COPY.




     91GNA7UpE:                                                                                        OATe 9UBMRTEO:                                                      -




     SECTION D' SUPERVISOR'S REVIEW
     RECEIVED BY SIIPENYISOA(NAME:                             -          DATE:                        SIGNATUgE:                                              DATE NETUHNED:




                                                           ,..
                                            ~Ith Care NNNG4
                  Distribution: Origi  ~e eturn to Inmate/Parolee; Canary - Inmate/Parolee's 2nd Copy; Pink • Statt Members Copy; Goldenrod - InmatelParolee's 1st Copy.
 Case 2:15-cv-07600-PSG-AS                      Document 22 Filed 10/11/16                  Page 35 of 87 Page ID
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                                                                                                       Page ID #:                ~


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                                                                                                          ~ —     -x 5




  Date:
                        JAS ~ ~ 2015        .
  To:           NGLJYEN,TIEN (P12755)
                California 1~Ien's Colony
                P.O. Box 8101
                San Luis Obispo, CA 93409-8101


  From:        California Correctional Health Care Services
               Inmate Correspondence and Appeals Branch
               P.O. Box 583500
               Elk Grove, CA 9758


 Trackine/Loa #:            CHIC HC 1404'8553
 This appeal was reviewed by Irunate Correspondence and Appeals Branch(ICAB)staff on behalf
                                                                                                of the Deputy
 Director, Policy and Risk vlanagement Services. All submitted information bas been considered.
 DIRECTOR'S LEVEL DECISION:
 Appeal is denied. This decision e,~chausts your administrative remedies.
 APPEAL,R~OiT~STS:
 You are requesting:
   • Urgent investigations on Dr. Lee's expertise and/or Dr. Lee's latent criminal intent.
   • To refer this case to the Medical Board of California.
 BASIS FOR DIRECTOR'S LEVEL DECISION:
 Your appeal file and documents obtained from your Unit Health Record were reviewed by licensed
                                                                                                    clinical staff.
 These records indicate:               .~
    • You have received ongoing Primary Care Provider(PCP)follow up evaluation and treatment
                                                                                                      to
        January 22, 2015, for your history of hypertension and mibaine headaches. Progress notes indicate
                                                                                                             you
        have a plan of care in place and the PCP has discussed your plan of care with you.
    • You are prescribed medications in doses appropriate to your body habitus (physique or body build)
                                                                                                             and
         your disease processes.
    • There is no record you suffered side effects from the initiation of the medication atenoloi
                                                                                                  and increased
        dose of the medication losartan with Direct Observed Therapy(DOT)administration as you
                                                                                                     claim in your    ~ ~r
        appeal.
                                                                                                                   ~j,~
    • There is no documentation to support your allegation that your care was inappropriate on June
                                                                                                       27,?014.
    • You continue to be enrolled in the Chronic Care Program(CCP)where your medical conditions
                                                                                                         and
        medication needs are closely monitored.
   • PCP/CCP follow up is pending scheduling and your medical condition will continue to be
                                                                                                   monitored with
        care provided as deternlined medically indicated by the PCP, in accordance with appropriate
                                                                                                     policies and
        procedures.

Although you have the right to submit an appeal as a staff complaint, it is not in the purview of
                                                                                                    inmates to request
specific action taken in regard to the conduct of the inquiry or in regard to disciplinary action against
                                                                                                          personnel. It
i:µL1i~S7i~L~lIA I:UKK'~L 11 VNae[.

HEALTH CARE SERVICES                                                                                        P.O. Box 588500
                                                                                                       Elk Grove, CA 95758



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Case 2:15-cv-07600-PSG-AS                   Document 22 Filed 10/11/16                    Page 36 of 87 Page ID
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    Case 2:15-cv-07600-PSG-AS Document 1 Filed 09/28/15 Page 34 of 64T:~~                                      ,~~»
                                                                                                   CMC HC 1404353
                                                                                                        Page 2 of2

 should be noted your appeal was reviewed and evaluated by the Hiring Authority and the issue was deemed not to
 meet staff complaint criteria.                 ,

 While the health care administrative appeals process is an important means of setting forth your health care
 concerns, it is not a substitute for direct communication about your health with your health care providers. You
 are encouraged to continue your care with your assigned health care providers and share with them new or
 additional clinical information about your conditions that you believe may affect your care. However, California
 law directs your health care providers to offer and provide only the care they determine to be currently medically
 necessay for you, in accordance with appropriate policies and procedures.Previous orders from other health care
 facilities or staff, input from health care consultants, and/or your own personal preferences maybe considered,
 but do not control the professionaljud~nent of your current health care providers.

 You submitted copies of the first and second level response letters and rejection notice with your appeal package
 at the Director's Level of Review. Be advised, for a Director's Level Review all original appeal documents are
 required; this includes all appeal forms, rejection notices, and responses. In this instance,ICAB made an
 exception to accept the appeal for processing, and copies of the response letters and rejection notice were printed
 and stamped,"TREAT AS ORIGNAL"; however, in the future, appeals submitted that are missing original
 appeal doct:ments will be subject to screen out pursuant to the California Code of Reblations(CCR), Title 15,
 Section 3084.6(b)(10).

 After review, ro intervention at the Director's Level of Review is necessary as your medical condition has been
 evaluated and you are receiving treatment deemed medically necessary.

RULES A~1D REGULATIONS:
The rules governing these issues are: California Code of Regulations, Title 15; Irunate Medical Services Policies
and Procedures; and the Department Operations 1~lanual.

ORDER:
No changes or modifications are required by the institution.



                ~~~

J. Lewis, Deputy Director
Policy and Risk Management Services
California Correctional Health Care Services




~s►L~~o~y~n: ~~«~~cr~a~,~~
HEALTH CARE SERVICES                                                                                    P.o. eox ssasao
                                                                                                    Elk Grove, CA 95758
          Case 2:15-cv-07600-PSG-AS                      Document 22 Filed 10/11/16                     Page 37 of 87 Page ID
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                       H                             "      ~  ~~ LEV CL ~~~Ei4L S

                  ~                  F~E~►L~'H CARE SERVICES
                                                                                                                             F



                                                                                                                            ~::~~
                                              Institution Response for Second Level AC Appeal

               Date:     12/1/14

               To:       NGUYEN, TAN (P12755)
                         G 023 1000027E
                         California Men's Colony
                         P.O. Box 8101
                         San Luis Obispo, CA 93409-3101
               Tracking/I.og #:           CMC HC 14048553
              Appeal Issues:
              In your CDCR-602HC Inmate/Parolee Health Care Appeal Form received on 8/12/201
                                                                                                      4, you state you are being
              forced to take your medications one time daily and are giving you severe back
                                                                                                   pain, palpitation, dizziness,
              cramps and pain in liver. You are requesting ur;ent investigations on your Primary
                                                                                                       Care Physician's (PCP)
              e~cpertise and his latent criminal intent. You are also requesting to turn this case
                                                                                                   into the California Medical
              Board in Sacramento before you do.
                        Issue Type                                  Action Requested
              Issue 1: Medication (11~1ed Dish•ibution)             no~cious overdose prescribed
              Interview:
              You were interviewed by J.Haar, MD on September 12, 2014 regardin; this appeal.
                                                                                                  During the' interview, you
              were allowed the opportunity to fully explain your appeal issue(s). Simple English
                                                                                                 language was used. and the
              physician spoke clearly and slowly. You were given a chance to ask question
                                                                                                   s which were answered
              appropriately. You were able to discuss the circumstances of the appeal and the
                                                                                              resulting events which showed
              that yogi understood the appeals process. Effective Communication was achieved.

             Response:
             You .were informed of the following at the First Level.of Review (FLR):
                                                                                               A review of your appeal with
             attacliment(s), electronic Unit Health Record (UHR), and all pertinent departm
                                                                                                 ental policies and procedures
             were reviewed. Upon review by the Hiring Authority/Designee, it was
                                                                                      determined your appeal did not rise to the
             level of a staff complaint as the evidence does not reflect staff misconduct. Your
                                                                                                allegations reflect "Medication
          h~ Distribution" and will be addressed as such at the First Level of Review.
        o t
           ~'' a~ You were seen by Dr. Lee on 06/30/14 to eva]uate your history of high blood pressure
                                                                                                            . At the time of the visit
        a>~ L~ your blood pressure was noted to be 175/91, which is elevated. At the
                                                                                              time of this encounter you were on
   ,~,~ ~,;t ,Na! Losartan SOmg daily for your hypertension. During his interview
                                                                                     with you, you noted you had headaches since
 ~~t~~~,,r~0~ ~,swchildhood. Because of your elevated blood pressure while on Losartan SOmg and your
                                                                                                                  history of chronic
    Lv~~ ~. ~ headaches, Dr. Lee decided to add Atenolal SOmo daily to your medications.
                                                                                                 This is an appropriate dose for this
 ~4 ` ~Y~~4 medication. During the office visit, Dr. Lee was concerned you were not
                                                                                             taking your medications correctly and
    ~ ,~~~ o~' ,,o°wrote to have your medications Doxazosin 2mg, Losartan SOmg, and Omeprazole
                                                                                                      20mg changed from Keep On
,(~iad~y `Person (KOP) to Direct Observed Therapy (DOT). He also wrote for the new
                                                                                                  medication, Atenolol SOmg, to be
 ~~'e~`~~,~ `~~taken DOT. Dr. Lee's order did not go into effect until 7/24/2014, You
                                                                                                 told Dr. Haar during              als
 ~~ r~ , %r interview you started to feel ill 10 days after coming daily to the pill line to
                                                                                                   take your DOT
~•~~ p~r SN       07/28 14 you submitted a 7362 to triage noting~you wanted~a change to yourZ7ine razole
                                                                                                               ant u o en-3osm
r,~~~             During the discussion with the triage Rai you requested all your medications "to be
                                                                                                          made I{      '. You did not
                  mention any side effects of severe back pain, palpitations, dizziness, cramping, or pain
                                                                                                             in yo it ir~'~Clfio~ ate
                  seen by your Primary Care Physician (PCP), Dr. Guiang on 03/08/14 for being non-
                                                                                                                co pl nt with you
                  Omeprazole medication which was DOT in the morning line. You did not mention feeling
                                                                                                                    ~       at tim~


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                                      '~        ~~'C~  ~/       ~~A.~               CMC HC 14043553.
      ---        -- - ---                             ~~ Y~.L ~         ~
                             --                                                           Page 2 of 2

                    mention any side effects of taking your medications "1 single time daily." On 0&,08/14, Dr. Guiang switched
                ~ your Omeprazote 20mg back to KOP. On 08/12/14 Dr. Guiang switched your Doxazosin 2mg
                                                                                                                    and Atenolol
            , r~'c 50mg and Losartan SOmg back to KOP but did not change the time you were to take your medication. That is,
           ",~~L~your prescriptions tivere still to take your Doxazosin 2mg and Atenolol SOmg and Losartan SOmg
                                                                                                                   together in the
     i ~r~~l~., evening. Your current prescriptions written by Dr. Guiang still have the Doxazosin 2mg and Atenolol SOmg and
 ~3~{~'i~r,:~r,r~~,Losartan I Omg to b0 taken in the evening together. You were last seen by your PCP,Dr. Guiang,
                                                                                                                   on 08/27/14 at
~~a7c~ ~p~~ which time you did not complain of severe back pain, palpitations, dizziness, cramping, or pain
                                                                                                                  in your liver. If
q~•• ~ 6~          you are in need of Health Care Services you are advised to follow policy and procedures by completing
                                                                                                                         a Health
?~~5~~~?           Care Services Request Form (CDCR 7362) via the triage nurse in your housing unit explaining
                                                                                                                      your issue.
~ti                Y~ op uK,appeal was denied at the FLR.
                r~,+X~erG
             r°' You completed Section D of the CDCR 602 i~► which you statz before ER care on 6/27/14 you had already
                                                                                                                           taken
       ~ _ i ~~~osartan 10 mg on night of crisis, RIv took. your blood pressure two times and mumbled
                                                                                                         "98..too high," the ER
 ~°~~,Si~~'~„¢,°y Doctor double up your Losartan to 50 mg, then on June 30 the doctor quadrupled total dose
                                                                                                            to 106 mg. You are
2~ ~~,
    d ~ gy         askn  g~ if the reviewer is saY~
                                                  ina the ER Doctor
                                                               ~"~dosa¢e
                                                                      oa was PProPriate. Therefore your aPPeat Your aPPeal is
~'r`               assioed at the Second Level of Review (SLR),

              A complete.and thorough review of your submitted appeal with attachment(s), electronic Unit Health
                                                                                                                      Record
              (eUHR), and all-pertinent departmental policies and procedures were completed. Only the original
                                                                                                                  allegations
              and appea] requests will be addressed at the SLR. As stated in the FLR your appeal was reviewed by
                                                                                                                     the Hiring
              Authority/Designee and was determined your appeal did not rise to the level of a staff complaint as
                                                                                                                   the evidence
              does not reflect staff misconduct. Your question regarding the appropriate dose of Losartan is a
                                                                                                                new issue and
              normally not addressed in the appeal however it will be addressed. The Losartan which was
                                                                                                            prescribed was
              medically indicated. You are bein? closely monitored for your conditions and your medications work
                                                                                                                       together
              for your medical issues. You are considered an active partner and participant in the health care
                                                                                                               delivery system;
              therefore, you are ercoura;ed to cooperate with your clinicians) in order to receive the proper care
                                                                                                                   and
              management of your condition. You will continue to be evaluated and treatment will be provided
                                                                                                                 based on your
              clinicians) evaluation, diagnosis, and recommended treatment plan in accordance with the appropriate
                                                                                                                        policies
              and procedures.

              Appeal Decision:                                                '
              Based upon the aforementioned information, your appeal is denied



                                                        .                      ~z~z,` z~ ~y
               D. Ralston, M.D.                                            Date
               Chief Medical Officer
               California Men's Colony




               M. tiVallace                                                Date
                                                                                ~~~~~
               Chief Support Executive
               California Men's Colony
     Case 2:15-cv-07600-PSG-AS                             Document 22 Filed 10/11/16                                   Page 39 of 87 Page ID
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                                 ~*.a~ a F, '-j P. ~~ d _, ~ _ '~ f.``~~    ~'^~as ~ ,. ~„S ~~~'~t~~7 u ~ ii~ :: v n .1 `.~           ~•,.


                   ~~           HEALTH CARE SERVICES                                                                                  ~ ~~
                                              Institution Response for First Level HC Appeal

          Date:    September 12, 2014

          To:      NGUYEN,TIEN(P12755)
                   G 0231000027E
                   California l~fen's Colony
                   P.O. Box 8101
                   San Luis Obispo, CA 93409-8101
          Tracking/Loa #:            CMC HC 1404853
         Appeal Issues:
         In your CDCR-602HC Inmate/Parolee Health Care Appeal Form received on 8/12/2
                                                                                             014, you state you are being
         forced to take your. medications one time daily and are giving you severe back
                                                                                             pain, palpitation, dizziness,
         cramps and pain in liver. You are requesting urgent investigations on your Primar
                                                                                               y Care Physician's (PCP)
         expertise and his latent criminal intent. You are also requesting to turn this case
                                                                                             into the California Medical
         Board in Sacramento before you do.
                    Issue Type                         ~                   Action Requested
         Issue 1: Medication (Ni~d Distribution)                           noxious overdose prescribed
         Interview:
         You were interviewed by J.Haar, MD on September 12, 2014 regarding this
                                                                                       appeal. During the interview, you
         were allowed the opportunity to fully explain your appeal issue(s). Simple
                                                                                     English language was used and the
         physician spokes clearly and slowly. You were given a chance to ask
                                                                                       questions which were answered
         appropriately. You were able to discuss the circumstances of the appeal and
                                                                                      the resulting events which showed
         that you understood the appeals process. Effective Communication was achieve
                                                                                        d.                                                       `
         Response:
         A review of your appeal with attachment(s), electronic Unit Health Record
                                                                                        UHR),and all ertinent
         departmental policies and procedures were reviewed ~U onreview by the
                                                                                      Hiri~~Authority/Designee it was
         determined your appeal did not rise to the level of a staff comp aint as t e eviden
                                                                                             ce does not reflect staff
         misconduct. Your allegations reflect "i~f~dication Distribution" and will
                                                                                     be addressed as such at the First Level
         of Review.

         You were seen by Dr. Lee on 06/30/14 to evaluate your history of high
                                                                                    blood pressure. At the time of the visit
         your blood pressure was noted to be 175/91, which is elevated. At the
                                                                                      time of this encounter you were on
         Losartan SOmg daily for your hypertension. Durin; his interview with
                                                                                  you, you noted you had headaches since
         childhood. Because of your elevated blood pressure while on
                                                                            Losartan SOmg and your history of chronic
         headaches, Dr. Lee decided to add Atenolo150mg daily to your medicat
                                                                                  ions. This is an appropriate dose for this
         medication. During the office visit, Dr. Lee was concerned you were not
                                                                                     taking your medications correctly and
         wrote to have your medications Doxazosin 2mg, Losartan SOmg, and
                                                                                Omeprazole 20mg changed from Keep On
         Person (IiOP) to Direct Observed Therapy (DQT). He also wrote for the
                                                                                    new medication, Atenolol SOmg, to be
  „ p_   taken DOT. Dr. Lee's order did not go into effect until 7/2412014.
                                                                                   You told Dr. I-Iaar during the appeals
~P.~'    interview you started to ~f ,ill 10 days after coming daily to the pill
                                                                                  line to take your DOT medications. On
         07/28/14 you subrnit[ed a 7362 to triage noting you wanted a change
                                                                                to your Omeprazole and Ibuprofen dosing.
         During the discussion with the triage R1V you requested all your
                                                                            medications "to be made KOP". You did not
         mention any side effects of severe back pain, palpitations, dizziness,
                                                                                cramping, or pain in your liver. You were
         seen by your Primary Care Ph;~sician (PCP), Dr. Guiang on 08/08/
                                                                                   14 for being non-compliant with your
         Omeprazole medication which was DOT in the morning line. You
                                                                               did not mention feeling ill at that time or


                                                                                                                                             r        ,,
Case 2:15-cv-07600-PSG-AS                Document 22 Filed 10/11/16                    Page 40 of 87 Page ID
                                                #:341
  Case 2:15-cv-07600-PSG-AS Documen                           ~, 9/ /15 Page 41 of 64 Page ID x:41
                                                              ":i~ ~                 T.NGUYEN,P12755
                                                                                                 CI~1C HC 1404853
                                                                                                        Page 2 of 2
  mention any side effects of taking your medications "1
                                                            single time daily." On 08/08/14, Dr. Guiang switched
  your Omeprazole 20mg back to KOP. On 08/12/14 Dr,
                                                              Guiang switched your Doxazosin 2mg and Atenolol
  SOrng and Losartan SOmg back to KOP but did not
                                                       change the time you were to take your medication. That
  your prescriptions were still to take your Doxazosin 2mg                                                        is,
                                                             and Atenolol SOmg and I.osartan SOm; together in the
  evening. Your current prescriptions written by Dr. Guiang
                                                              still have the Doxazosin 2mg and Atenolol SOmg and
  Losartan lOmg to be taken in the evening together. You
                                                           were last seen by your PCP,Dr. Guiang, on 03/27/14 at
  which time you did not complain of severe back pain,
                                                         palpitations, dizziness, cramping, or pain in your liver.
  you are in need of Health Care Services you are advised                                                          If
                                                           to follow policy and procedures by completing a Health
  Care Services Request Form(CDCR 7362) via the triage
                                                            nurse in your housing unit explaining your issue.
  Appeal Decision:
  Based upon the aforementioned informa!ion, your appeal
                                                            is denied.


        ~~i~)
  J.Haar,
                                                               ~f~~/~r
                                                           Date
  Physician and Surgeon
  California Nien's Colony


              ~~                                              ~~~~~
  C. Barber, N1.D.
                                                           Date
  Chief Physician &Surgeon
  California Men's Colony




                                                                                                                        • r
      Case 2:15-cv-07600-PSG-AS                    Document 22 Filed 10/11/16                 Page 41 of 87 Page ID
                                                          #:342                                                      ~~




                                           M EDICAL RECORDS DEPApTM~NT                                               ~%~.:1~
                                                    FIDE R~~U~.ST                                                 ~-~~'+ L ~ ZC1

                 NAM.: l(. /."+'~ ~?'t~~ !~'?`~71~`         DATE:     I~ ~ C
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                 CDCRr: ,'!a7~S                    HOUSING:
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                 Tne rviedi~~l ~2Caf~~ D?r70fiTi@fl` hc:)S f?C~iv~C yGUf (C{UCS; t0 i8'JIcW/(cC?I'~~
                                                                                                     R'l~~l~~l
                 record copies. Ir an ef~or~ to reduce your cogying cos` anC to rush your
                                                                                             reques', please
                 be SP_C1-1C as to the information you are requesting and purpose for review'.



                 CHECK I
                                   INFORMATION NEED~Q                               DATES NEEDED
                ,MARK
                                                                          Beginning Dafe !     Ending Date
                                                                               . ~ ~     i.
~
C                                                                                         ~     Y1
~~~       ~i            I PROvR~S~ NOTES
                      ~--~~.                                     ~~                       ~                   ~
       -~-'       Vii' ~~<NIEDICATION RECORDS
            ~            ! PUBLI~~ Hc.ALT~~/V,ACCIN~S `
                  4/     , LAB R=DORT~      ~4~t'      ►-                                                 isi
      .~,~ v             I XKA.~ ~=~oKT;                              I' ~„1~ -- I — ~c c~ ~~r, .~c~ ..2~~
                           CONSULTATIONS;SP~CIALTIY
                                                                                         7                   ~-
                         ` CHRONOS
                 J~        DCNTA~ R=CORDS
       ~I
                           HOSPITAL/INrIRMARY STAYS
                           M~NTA~ HEALTH P.~COR~S "

                 ~ f .OTHEn (PL=ASS SPrCIFY)
                                                                                 ~~~;~ v ~-~l/.~ t~i
                "Nee`~s approval poor to r~(eas~




            Inmate Signature:              1~-~v       ~~ /';•      ~ /       Date: 1   `~ ~    ~




            REVIS~C J-22-13
       Case 2:15-cv-07600-PSG-AS               Document 22 Filed 10/11/16 Page 42 of 87 Page ID
                                                        #:343
                             California Men's Colony— Health Information Management
                                         RECEIPT FOR MEDICAL RECORDS                          ~~
    NAME:          Nguyen, Tien                                                P12755
                                                                CDCR#:
 REVIEW DATE:

   have received the copies that I requested from the Health Information Management Department. These copies
 include:

      ! FORMS                                              DOCUMENT DATES                                        j #PGS
 1      Physician
        Orders

2 ~ ,Progress s          6/27/14 - 7/3/14                                                                           ~~
        Notes

       MARca1ions . ~ ~/~if44 - 2f5/15`
3                                                                                                                   40

4      Physicals



5      Public Health



6      Laboratory        10/16/13, 7/1 /14
             --                                --                                                                   3

~      Radiology/Dia g/23/98 - 6117/14
       gnostics    _ -- - -=- --- -                                                                                11

8      Chronos


9      Consults/Trea
       tments

       Outside
10
       Fac(lities/Mist


1~     Dental            1 /5/98 - 2/13/13
                             _._..~___-- _.~                                                                       29

       Mental Health
12
       Records


13     Medical Legal


       Inpatient
1a
       Records


TOTAL C~PtES RECEIVED:                              g3

  understand that with the above-mentioned copies In my possession, the Health Information Management Department can no
longer be held resp slble for the conftdentiality of these documents.

                                                                                     ~ 1~ 'Is
Inmate's Signature                                                             Date Received
            Case 2:15-cv-07600-PSG-AS                        Document 22 Filed 10/11/16                        Page 43 of 87 Page ID
                                                                    #:344                                                                   !f- ~V 19
                                                                                                    DEPARTMENT OF CORRECTIONS AND REHABILITATION
STATE OF CALIFS RNIA                                                                    ION
                 FOR RELEASE OF PROTECTED HEALTH INFORMAT
A UTHORIZATION                                                                                                                    Form: Page 1 of 2
CDCR 7385(Rev. 11114)                                                                                                          Instructions: Page 3

                                                                              ion to be honored. Use "N/A" if not applicable.
r        All sections must be completed for the authorizat
                                                           I. `Patient Information
                                                     First Name:T j.e,n                               Middle Name:               ~-(,,
Last Name: ~G ~ ~~~
                                                                     Date of Birth:                /~ `~          3~-
CDCR #: ~ I a.~-- 55
                                                                                                         o/
                                                                     City/State/Zip: ~LG G~ , ~3X05 — ~~
Street Address: ~{ 1,~/y ~
                                                      ized to Release Personal Health Records if Other Than CDCR
     I L`lndividual/Organization:Author

    N ame:
                                                                            City/State/Zip:
Address:
                                                                                                                 ion
                                'ill. Individual/Organization `to Receive the Informat                                    -
                                          X45 C:F:R. § 164:508(c)(1)(ii) (iii)'& Civ; Code § 56 11(e),:(~]
                                                                                ement  forele ase the`be low health inform ation pursuant to this
                                                 s Health Information Manag
       :The undersigned hereby authorizes CDCR`                   authorization.
                                                                                                                        _                             i


                                                                             Relationship to Inmate:                   5.~~
    N ame:
                                                                             City/State/Zip:
    A ddress:
                                                                             Fax:
    P hone:
                                          or Expiration'Date for Release of Verba{ Information/                                                           I
       IV. Authorization Expiration Event                                                                                                                 I
                                       Written Correspondence
                                                [45 C.F.R. § 164.5~8(cl(1)l'1) & Ciu Code § 56 11(h)]
                                             this authorization for the release o~ my health care information to
    U nless otherwise revoked by the inmate,
                                          on will expire upon (choose one):
    the above-named person or organizati
                                                                                            Release from Custody
    C~ Date (mm/dd/yyy):
    ❑ Happen ing/conclusion of this event:
                                                                          (e.g., conclusion of litigation, completion of surgery)
                                                                                ased                                                                  `I
                                     V. Hardcopy Health Care Records t~ be Rele
                                                                           (g)]
                                              [45 C:FR. § 164 508~cj(1)(i) & Civ. Code §:5o.11(dj,

                                                  reques± to release hardcopy records. Records for the following
      separate authorization is required for each
                                                leted to receive records}:
    period of time are requested (must be comp
                                                               To (mm/dd/yyyy):      ~~3d ~/S
    ❑ From (mmldd/yyyy): ~ / i~p ~
                              f~Dental Services                                                     ❑Mental Health Services
     M edical Services
                              ❑Genetic Testing                                                      ~i HIV Test Results
    ~Commu nicable Disease
     S ubstance Abuse/Alcohol ❑Other:
                                           re a separate CDCR 7385 in order to be fulfilled and may
    Requests for Psychotherapy Notes requi
                                           for health care records.
    not be combined with any other request
       Ps chothera              Notes
       Case 2:15-cv-07600-PSG-AS                  Document 22 Filed 10/11/16                   Page 44 of 87 Page ID
                                                         #:345
                                                                                                                  ~~
    California Correctional Health Care Services                                                CALIFORNLA NtEN'S COLONY

                                                   i~1EDICAL PROGRESS COTE
     tiA~IE: NGUYEN,TIEN                          CDCR#: P127~5                             DATE OF SERVICE:06/27!2014
     DATE OF BIRTH: 12/09/1937                    HOUSLtiG: G023 1000027E                   PAROLE DATE: LffE

    TII~1E: 1950

    Test of Adult Basic Education(TABS)score Z.1.

    SUBJECTNE: The patient is a 76-year-old male who has a history of hypertension and was last seen'by f~is chronic
                                                                                                                             care
    physician on 06/02/2014: He states that he takes losartan 2~ mg in the evening for blood pressure control. He
                                                                                                                      states that,
    today, he came over to the clinic and was seen by the Triage Nurse because of a headache that started this afternoon
    around 3:00 and also feeling slightly dizry. He also states that he took some Tylenol yesterday for some generalized
                                                                                                                             mild
    headache. He has not had any nausea or vomiting and is not experiencing any chest pain or shortness of breath.
                                                                                                                        In
    reviewing his chart, it appears that his blood pressure has been mostly well controlled with a systolic blood
                                                                                                                  pressure being
    in the 140 to 150 range at times. He has good kidney function at last look in October 2013 and electrocardi
                                                                                                                   ogram in
    October 2013 was read as nonspecific T and T-wave abnormalities with a normal sinus rhythm. The patient has
                                                                                                                        not taken
    his usual nighttime medications yet, which are losartan ZS mg and doxazosin 2 mg daily. He was sent to the
                                                                                                                    East Clinic
    for further evaluation. He does not have any other specific complains at this time.

    I spoke with the nurse at California Men's Colony (CI~fC) West, who states that the patient's belongings were
                                                                                                                     searched
    and his medication packets were brought to the clinic. There were no packets for losartan, and it is unclear when
                                                                                                                        those
    had last been dispensed. Therefore, it is uncertain [hat the patient is actually taking this medication. My intent
                                                                                                                       was to
    have the patient take his medication after returning back tohis`housing unit but we~needed to have Pharmacy come
                                                                                                                          in to
    fill the prescription, and the medication was taken over to his housing unit and just given to him at 2130. At
                                                                                                                    2145, his
    blood pressure had decreased to 190/100, and the patient was still complaining of a mild headache but continued to
                                                                                                                           be
    neurologically intact. The plan now is -for the patient to-come back in the morning for a recheck of his blood
                                                                                                                    pressure. 1
    anticipate that when he is back on his blood pressure medicine, his Headache will go away once his blood pressure
                                                                                                                         is
    under better control.

    NfEDICATIONS: Please see list dated 06/27/2014.

    ALLERGIES: NONE.

   OBJECTNE: VITAL SIGNS: Temperature 98.6, pulse 88, blood pressure 234/103, respiratory rate 18. Height 5
                                                                                                                     feet 4
   inches. Weight 125 pounds, which is stable. GEi~'ERAL: The patient is a pleasant male who ambulates easily into
                                                                                                                      the
   examination room with the use of a cane and is able to transfer to the examination table without assistance. SKIN: No
   jaundice, pallor or rash is noted. HEENT: Pupils equal, round and reactive to (i~ht. EYtraocular movements are intact.
   Fundi are benia as far as I can asceRain. Throat is clear. NECK: Supple and with full range of motion. LUNGS: Clear
   to auscultation without rales or wheeze. HEART: Regular rate and rhythm without a murmur. EXTREi1~[ITIES: No
   edema is noted. NEUROLOGICAL: Cranial nerves II-XII intact. The patient is able to balance on either leg one at a
   time. He has a negative Romberg, and he has an even gait. Speech is clear and coherent, and memory is intact. Alert and
   oriented s~. Ntotor 5/5 in biceps, triceps, hip flexors and leg extensors. No decreased sensation is noted.

   LABORATORY D:~TA/DIAGNOSTIC DATA: EKG is done that shows no change compared with EKG on 10/03/2013.

   ASSESSMENT: Hypertension. The patient has some mild headache symptoms, but he also has not taken his nighttime
   medications. Given the history of level systolic hypertension, 1 will go ahead and increase his dose of losartan to 50 m~
   daily. I will have the nurse give that to him from his regular prescription and monitor him over at the West Clinic. If his
   blood pressure decreases and the headache subsides, I will let him go back to his housing unit. If the headache persists or
   if the patient has any change in his neurological status after takin; this medication, then I wil(send him down to the
   outside hospital for further evaluation. However, the patient appears to be completely neurologically intact, and I do not
   see a reason at this point in time for imaging studies to be done. ~i will have this patient be seen by his. physician in 3 dais
   and also have a metabolic panel checked at that time to make sure that his creatinine or kidney function has not changed
   since the fast test in October ?013.

'"~ DICTATED BY Denise Taylor, ~1D
    NGUYEN TIEN                                                                                                              Pl?755
   Case 2:15-cv-07600-PSG-AS                          Document 22 Filed 10/11/16            Page 45 of 87 Page ID
                                                             #:346                                                  ~f'T
 California Correctional Health Care Services
                                                                                            CALIFORI~([A MEN'S COLO~,'Y

 PLAN:
 1 . Losartan 50 ma tonight and then monitor blood pressure 30 and 60 minutes afterwar
                                                                                            ds. If his blood pressure
 decreases, he will go back to his housing unit. If not, a different disposition will be arranged.
 2. Metabolic panel to be done on l~fonday if the patient remains in his housing unit.

   D Gt~TIO The patient understands and agrees with the above assessment and plan.
   ~- -=~'
 EFFECTNE CO;~tv1Ui~1ICATION: The patient has a TABS score of 2.1, and he is also Disabilir
                                                                                                    y Not Impacting
 Placement Hearing(DNH). I ensured effective communication by speaking more slowly and
                                                                                                using basic language. I
 leaned closer to the patient since there was some ambient noise and spoke directly to him in a louder
                                                                                                       voice. The patient
 asked questions, was able to sum up the information, and effective communication was acf~ieved
                                                                                                  .
 FOLLO`WP: ¢ollow up in 3 days with the primary care physician _ A:pass will be given so that,he
               _                                                                     _           can-go to the clingy'
  n Monday.

 DISABILITY CODE:                                 ACCOM;~fODATION:                  EFFECTIVE CO!~1LJNICATION:
(X)TABS score less than 4.0                       Q Additional time                 (X) Patient-inmate asked questions.
 O DPH Q DPV O LD                                 Q Equipment Q SLI                 (X) Patient-inmatz summed information
Q DPS (X)DNH                                     (X)Louder (X)Slower                PLEASE CHECK ONE
Q DNS Q DDP                                      (X)Basic()Transcribe               () Not reached* (X)Reached
Q Not Applicable                                 ()Ocher*                              *See Chrono/notes
COMMENTS:




  X dt
  Denise Taylor, MD
  Digitally authenticated on 7(7/2014 11:48 AM

DT/kls D: 06/27/2014 03:03:00 pm              T: 06/28/2014 06:27:20 am                      Job #:987816
A.'VIEi'~'DED/06/27/2014/DT/ksg/drr Job #987820




DICTATED BY Denise Taylor, MD
hGUYEN TIEN                   DOB 12/09/1937                Page 2 of 2             DOS; 06/27R01a                      P12755
      Case 2:15-cv-07600-PSG-AS                  Document 22 Filed 10/11/16                  Page 46 of 87 Page ID
                                                        #:347
    California Correctioaa~ H;s![h Care Services                                                               ~'
                                                                                              CAL[FORVIA ~1EN'S COLOi~'l'

                                                 MEDICAL PROGRESS VOTE
     ti,~~IE: NGUYEN, TIES'                      CDCR#: P127>j                           D_~TE OF SERVICE: 07/0~/?014
     DATE OF BIRTH: 12/09;'1937                  FIOtiSI~"G: G023 1000027E              'PAROLE DATE: LIFE
   TlitiLE: 8:35 a.m.

   Test of Adult Basic Education(TABE)score = 2.1.                                                                                <:_ "
   Developmentally Disabled Program (DDP): Norma( coaitive functioning
                                                                                 (I~;CF). D~1H                         ., ~   -
                                                                                                              ~4 ~ '
   CHIEF C0~IPLAI~;T;'~~Ilow up_from emergency -.room .visit..          ~,,,,,.,~ ~   " ~'

   SUBJECTNE: This is a 76-year-old Vietnamese male with a~ast ~m~~iial history of
                                                                                           hypertension, hyperlipidemia and
   migraine headaches. He was seen at the emergency room on '~6i29,'2014,becau~e of
                                                                                         headache and his blood pressure way
   noted to be high at 199,!91. He was not able to take his blood p~~ss~trrmdication
                                                                                       losartan during this time, but now he is
   taking his blood pressure medication regularly and his blood pressure is better controlled, but
                                                                                                   he is still having on and off
   migraine headaches on one side of the face, sharp, lasting for a few hours with nausea, but no
                                                                                                   vomiting. He is on
   ibuprofen for pain control.

   He al;o complains of a persistent nonproductive cough. He denies any sweating or night sweats, no anorexia
                                                                                                              and no
   significant weight loss.

   ALLERGIES: NO-IL~iO~tiN DRUG ALLERGIES.

  OBJECTNE: VITAL SIG?~S: Blood pressure 158/31, heart rate 97, temperature 97 decrees, respiratory rate 18. Pulse
  oxygen saturation 96%. HeiQht ~ feet 4 inches. Weight 12~ pounds. Body mass index 23. HEENT: ~lonicteric sclerae.
  No tenderness at the temporal area. No thyromegaly. LLTiGS: Clear breath sounds. HEART: S l and S2. do murmurs
  Rio gallops. ABD0~1E`': Sofr, nontender. NEUROLOGICAL:- The patient is awake and alert. Cranial nerves II-XII
  grossly intact. No focal neurolojical deficits.

  ASSESSMENT:
  1 . Follow up from emergency room visit for uncontrolled hypertension and headache, stable at present.
  2. History of migraine headache.
  3. Cough.

  PLAN:
  1. Continue current antihypertensive medications. Discussed about compliance of medicalion.
  2. Imitrex 50 mg at the onset of headacF:e, maximum of eight tables per month.
  3. Benzonatate p.r.n. for cough for 10 days.

}- EDUCATION: His TABS score is 2.1. DDP code is NCF. He was accommodated with additional time. The patient
   asked questions. Effective communication was obtained.

  FOLLOWLJP: I will see him for followup in 60 days.

  DISABILITY CODE:                         ACCOMMODATION;                              EFFECTIVE CO~t~ ~ ICATION:
 (X)TABS score less than 4.0              (}C) Additional time                        (X) Patient-inmate asked questions.
 O DPH ODPV OLD                            O Equipment O SLI                          (x) Patient-inmate summed information
 O DPS (x)DNH                             (x) Lauder ()Slower                          PLEASE CHECK ONE
 ()DNS()DDP                               ()Basic ()Transcribe                        ()Not reached" (X)Reached
 O Not Applicable                          O O[her'                                      *See Chrono/notes




  DICTATED BY Camilo Guinn„:~(D
  tiCC'YEN' T[EN
                                                                                                                              P~'-~'~`
  Case 2:15-cv-07600-PSG-AS                    Document 22 Filed 10/11/16          Page 47 of 87 Page ID
                                                      #:348
California Correctional Health Care Services                                       CALIFOR~yI:~ i~fEti"S COLO~~'

CO~f~iENTS:




 X csg
 Camilo Guiang, MD
 Digitally authenticated on 7/8/2014 8:19 AM


CG/pb D: 07/03/2014 09:I 8:00 am                  T: 07/03/2014 06:02:56 am         Job #; 991040




   FATED BY Camilo Gui•rng, nID
   i~'EN T1EY                   DOB: 13;09/1937      gage 2 of 2              DOS 07/03/201a              P13;~5
           Case 2:15-cv-07600-PSG-AS                     Document 22 Filed 10/11/16      Page
                                                                             Vold^~e 22 Issue   48 of 872014,'January
                                                                                              5 D2cer~~ber Page ID 2015
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Interactive Webcasts L~/~th IAS-USA Faculty                                        CME Credit Available: 1.50 AMA PRA Category 1 Creditsr""
                                                                                   Level: Advanced
Monthly webinars provide live, interactive accompaniment to a variety
                                                                                   The percentage of HIV-infected patients older than 50 years is ex-
of published Cases on the Web. The webinar format provides a chance
                                                                                   pected to increase to more than 50% by 2020, based on modeling.
to ask questions and receive responses in real time. Moreover, registra-
                                                                                   Treatment with single-tablet regimens can lead to durable viral sup-
tion is free of charge.
                                                                                   pression. However, viral suppression comes at the price of lifelong
Register now for this upcoming webinar:                                            treatment and is further complicated by the expected challenges
   • Will You Still Treat Me When I'm 64? Care of the Oldest                       associated with aging itself.
       Adult With HIV Infection, presented by Howard Libman,
                                                                                   Hepatitis C Viral Targets
       MD—January 15, 2015
                                                                                   Stuart C. Ray, MD, Justin R. Bailey, MD, PhD
For the webinar schedule and an archive of past presentations, please              CME Credit Available: 1.50 AMA PRA Category 1 CreditsT^"
visit www.iasusa.org/webinars.                                                     Level: Advanced
      .~                                                                           A 2008 study by Limketkai and colleagues showed that in patients
€~ a~~          ~ ~~          t                                          f         with HIV/HCV coinfection, hepatic fibrosis stage was independently
                                                                                   associated with risk of progression to end-stage liver disease, hepato-
Cases on the Web is a series of case-driven continuing medical educa-
                                                                                   cellularcarcinoma, and death, and that sustained virologic response
tion activities sponsored by the International Antiviral Society—USA. The
                                                                                   after treatment of HCV infection was associated with survival. These
Cases on the Web program was created to offer physicians convenient                findings highlight the importance of staging of liver disease and,
online access to top-quality education.                                            whenever possible, treating HCV in HIV/HCV-coinfected individuals.
Look for these new Cases on the Web activities.
                                                                                   Initiating Antiretroviral Therapy in Resource-Limited Settings
Diagnosis and ManagPmen# of Major er Persistent Depression
in the HIV-Infected Patient                                                        Habib Ramadhani Omari, MD, MPH, MHS, and John A. Bartlett, MD
Francine Cournos, MD, and Milton L. Wainberg, MD                                   CME Credit Available: 1.50 AMA PRA Category 1 CreditsT"'
                                                                                   Level: Advanced
Treatment of Opioid Dependence in HIV
Jeanette M. Tetrault, MD, FACP, and David A. Fiellin, MD                           Antiretroviral therapy has been tremendously successful in reducing
                                                                                   morbidity and mortality among HIV-infected persons, and an esti-
End-Stage Renal or Hepatic Damage and Antiretroviral                               mated 10,000,000 people globally are now receiving it. Stigma and
Drug Dosing                                                                        the need for strict medication adherence are commonly encountered
John J. Paragon, PharmD, BCPS                                                      throughout the world. In resource-limited contexts, there is an addi-
                                                                                   tionalchallenge of maintaining a continuous drug supply and having
                                                                                   the ability to properly monitor treatment. Early treatment initiation
                                                                                   is essential to preserve immunity, prevent the emergence of AIDS-
Prevention of Cardiovascular Disease in the HIV-Infected                           defining i llnesses, and decrease HIV transmission.
Individual
                                                                                   Novel HIV-1 Resistance and Tropism Testing
Michelle Zikusoka, MD, MHS, Wendy S. Post, MD, MS, and Todd T.
Brown, MD, PhD                                                                     Jonathan Li, MD
CME Credit Available: 1.50 AMA PRA Category 7 CreditsT"'                           C ME Credit Available: 1.25 AMA PRA Category 1 CreditsT^"
                                                                                   Level: Advanced
Level: Advanced
Given the prevalence of traditional risk factors, the aging ofHIV-infected         The remarkable diversity of HIV stems from a high replication rate
i ndividuals, and the potential cardiovascular consequences of HIV                 and the error-prone reverse transcriptase enzyme used to translate
disease and antiretroviral therapy, more attention should be focused               HIV RNA into DNA. Up to 5 mutations may arise with each new HIV
on efforts to decrease the morbidity and mortality associated with                 virus produced; more than a billion new virions may be produced
atherosclerotic cardiovascular disease (ASCVD) and HIV infection._                 daily in a chronically infected patient. This diversity and rapid evolu-
The key to success in CVD prevention is education of the clinician                 tion allow HIV drug resistance to emerge in patients who are on
and the patient.                                                                   antiretroviral therapy that is not adequately suppressive or who are
                                                                                   not fully adherent to their antiretroviral regimen. When available, HIV
Geriatrics and HIV                                                                 drug—resistance testing should be used to guide the selection of an
Harjot K. Singh, MD, ScM, and Eugenia Siegler, MD                                  optimal antiretroviral regimen.



                                    For information about Cases on the Web, please contact the IAS—USA.
                  Phone: (415) 544-9400    Fax: (415) 544-9401   E-mail: info"aY'iasusa.org  Website: www.iasusa.org/cow


                                                                             707
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                                      #:350
IAS-~S~e Z:~c~l~!r~r~~~   cp~ Document 1 Filed 09/28/15 Page 42 of 64 Page ID #:4
                                                                                                                                                                 ~~



                                  Recommend   for Testing, IVlanaging,
                                  and Treating s ~ ~~h `~ s ~~~~ ~,
       ~..                        Recommendations.for Testing, Managing, and ~ceating Hepatr
                                                                                                    ti' "C'~
wvr►v~ C~uidelines.org            is a website sponsored by the American Association for the
                                                                                                 Study of
                                  Liver Diseases(AASLD)-and the Infectious Diseases Society of
                                                                                                 America
                                 (IDSA) in collaboration with the International Antiviral
                                                                                           Society-USA
                                 (IAS-USA} to provide the most current guidance for the treat
                                                                                                  ment of
                                  hepatitis C virus (HCV}.
                                  Recently, several sections of the Guidance were extensively
                                                                                                  revised
                                  based on newly available therapies approved by the US Food
                                                                                                and Drug
                                  Administration. Visit www.hcvguidelines.org to review the
                                                                                                 updates
                                 to sections on initial Treatment of HCV Infection; Retre
                                                                                          atment of Per-
                                 sons in Whom Prior Therapy Has Failed; Monitoring Patien
                                                                                             ts Who Are
                                 Starting Hepatitis C Treatment, Are on Treatment, or Have
                                                                                             Completed -
                                 Therapy; and Unique Populations (Patients With HIV/HCV
                                                                                           Coinfection,
                                 Patients With Decompensated Cirrhosis, Patients Who
                                                                                         Develop Recur-
                                 rent HCV Infection Post-Liver Transplantation, and Patients
                                                                                             With Renal
                                 Impairement).

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                                 Available sections:
                                  ■ HCV Testing and Linkage To Care
                                  ■ When and in Whom to Initiate HCV Therapy
                                  ■ Initial Treatment of HCV Infection
                                  ■ Retreatment of Persons in Whom Prior Therapy Has Failed
                                  ■ Monitoring Patients Who Are Starting Hepatitis C Treat
                                                                                           ment,
                                    Are on Treatment, or Have Completed Therapy
                                  ■ Unique Patient Populations
                                    - Patients With HIV/HCV Coinfection
                                    - Patients With Decompensated Cirrhosis
                                    - Patients Who Develop Recurrent HCV Infection Post-L
                                       Transplantation                                     iver
                                       Patients With Renaf Impairment
                                  ■ Management of Acute HCV Infection


                                             708
   Case 2:15-cv-07600-PSG-AS                 Document 22 Filed 10/11/16                  Page 50 of 87 Page ID
                                                    #:351
Ca;ifornia Correctional Health Care Services                                             CAL1F02vIA MEN'S COLONY
                                                                                                                    ~g
                              CFIROtiIC CARE FOLLO~VUP VISIT/PROGRESS tiOTE
 ~:1~IE: LGliYEiv', TIEN                    ~ CDCR#: P127~5                          DATE OF SERVICE• Q6/;0-`'014              ~
 DATE OF BIRTH: 12/09/1937                    HOL'SI~iG: G023 1000027E               PAROLE DATE: LffE                         i

TB CODE: 32

TI~(E: 10:1 i a.m.

Test of Adult Basic Education (TABS)score: TABE score 2.1.
Disability Not Impactin; Placement f-Iearin~ (D~fH) and Disability Not Impacting Placement tilobility (Dti~ij.

CHIEF COMPLAINT:'Followup hypzrtension. Noted elevated blood pressure 06/27/2014:

CHRONIC ~1EDICAL PROBLEI~IS`SUBIECTIVE: This is a 76-year-old Asian male with a Ion; history of
hype ension whowas being seen on 06/27/?014 for headache and noted elevated blood pressure of 130/100, The patient
reports Ile has been compliant on medications and recently chanted Losartan from 25 rrtg to 50 mg daily. Previous
chronic care notes reviewed 06/02/2014 with well-controlled hypertension. Blood pressure at that time noted on
06/02/2014 was 137/77. He reports he has a history of right hemicranial headache since "I was a kid," but perhaps worse
since 20l 1 and no change since then. He also states that he has chest discomfort "since I was a kid, whenever f catch
co(d." Presently he states he is coujhin; but denies any hemoptysis oc shortness of breath. Problem list notes chronic
headache, migraine, without aura, and patie~lt also reports he has had migraines since "as a child," but perhaps worse since
2011. He has no focal neurologic symptoms. He has no shortness of breath, lightheadzdness, or dizziness. Other medical
problems include osteoarthritis and hearing loss with hearin; aids. He is only wearing a ri;ht hearing aid. The left
hearing aid he left out purposely. Hz states "It hurts when somebody shouts," referring to his left ear and wearing a
hearing aid on that side.'- other medical roblem'is chronic hepatitis C,genotype~l, previously refused xreatment. He ~~
denies any present illicit drub use. e iniva (y states" o~, cannot remem er. wen e[ oua was re erring t
intravenous illicit drue use. Then he changes [o "nothing" in terms of intravenous or illicit drug use and then changes it
aJain to "opium" orally but denies any intravenous illicit drug use. The patient has no known complication from
hyperension. He has no history oFhea:t disease. Hz does have Fyperlipidzmia and benign prostatic hypertrophy, He has
a history of hemorrhoids and ~astroesophaQeal reflux disease.

On 06/0?/2014 notation notes bronchitis and given doxycycline for 14 days with complaint of cough with;ello~v-green
phlegm.

PAST 1~tEDICAL HISTORY: Problem list reviewed and updated.

~1EDICATIONS: Thz patient compliant on medication with the follo`ving active medications:
I. Hydrocortisone 0.1%cream topically/rectally as needed for hemorrhoids.
2. Doxazosin Z mg 1 every evening.
~. IbuproFen 800 m~ 1 tablet 3 times a day as needed for pain.
4. Losartan 50 mj daily.
~. Omeprazele 20 m;daily.

The patient understands medication indication and no reported side effects.

ALLERGIES: NO ~'~10~VN DRUG ALLERGIES.

REVfE~V OF SYSTEMS: ~Io fever. Denies hemoptysis, shortness of breath. The patient complained of chest pain
hzaviness `'since I was a kid," and "whenever I catch a cold," reFerrino to perhaps eou;hing. The patient describes very
poorly his symptoms and timeline is very unclear. Hz denies focal neurologic symptoms. No abdominal pain. Flo
s!lortness of breath. ho edema. Rio lieht-headedness.

OBJECTIVE/OBSERVATIOLr: VIT,~L S[GtiS: Blood pressure l7~!91, temperature 9?.9, respiratory rate 18, repeat l6,
pulse 96. 02 saturation 99% on room air. Seated height ~ feet 4 inches. 1~Vei~ht 12~ pounds. Body mass ind~r 2l . Vital

DfCTATED BY Scott Lec, ~[D
N CI,~Y'EN TIE'ti                                                                                                     P1?7~5
      Case 2:15-cv-07600-PSG-AS                         Document 22 Filed 10/11/16              Page 51 of 87 Page ID
                                                               #:352
   California Correctional Health Care Services
                                                                                                                          .~'Q
                                                                                                CALIFORNIA :~tE~'S COLONY
   sins by O'Bryant, LViv'. GENERAL: do apparent distre;;. The patient has difficulry hearing with loud voce,
                                                                                                                  and slew
   speech used and repetition. HEENT: Patient wearing hearing aid on the right side, absent from left ear. External
                                                                                                                    ears,
   nose, lip otherwise normal. NECK: Without masses, lymphadenopathy, thyromegaly, or tenderness. No
                                                                                                           jugular venous
   distention. CHEST: Clear to auscultation, palpation, inspection, and percussion. Normal respiratory effort.
                                                                                                               No tales,
   w heezes, or rhonchi. HEART: Regular rate and rhythm. Normal S 1, S?. No heaves, rubs, or thrills.
                                                                                                         Chest noncender.
   ABD01~fEN: Soft, nontender. EXTREIVfITIES: Gait and station normal. The patient is ablz to lift his cane
                                                                                                               and walk a
   fe~v steps wit1~ normal gait.

   LABORATORY DATA/DIAGNOSTIC DATA:

   ASSESSMENT:
   l~. Elevated blood pressure not at goal
   2 Recent bronchitis per 06/0?/2014. Competed doxycycline.
   3. Other medical problems not targeted but history of right hemicranial headache, long history of migraine headache
   ~viihout aura. Other
                   _~ medical problems not targeted are osteoarthritis,.ch~on c hepatitis C, benign prostatic hypertrophy,
   and eastroesophageal re ux d isease.
                                                                                               .~~ %~E CGSi~Y~ 2j~ ~~fl~riy~
   PLAN:                                                       ~'                                      -~C.i2 1 ~';S ~`h
   1. Add Atenolol 50 mg every day for control of blood pressure and comorbid prophylaxis for migraine.
   2. Continue other medications except will change to Direct Observation Therapy(DOT)since patient is a poor
                                                                                                                   historian
   and there is question of compliance to medications. AIi DOT medication to be once daily medication and
                                                                                                              conr,nue with
   Keep on Person(KOP) hydrocortisone and ibuprofen.

'
'EDUCATION: Counseling and education regarding the addition of new medication and change to DOT. Education
                                                                                                                       and
 counselin~`ir"worsening headaches, focal neurologic symproms, shortness of breath, or fever the patient to report
                                                                                                                   to
 medical personnel on an emergent immediate basis. Weekly nurse blood pressure checks to monitor and followup
                                                                                                                     within
 30 days to recheck blood pressure. Coordination of care wish scheduling and nursing.

  EFFECTIVE CO~f~fWICATION: TABS score 2.1. Effective communication was achieved. The patient has normal
  cognitive function. Slow and basic language was used, and patient-inmate had an opportunity to ask questions
                                                                                                               and
 "summarize the visit.

   FOLLOWLIP: As above.

   DIS?.BILITY CODE:                               ACCOMti40DATION:                      EFFECTIVE COM~lU~lICATION:
  (X)TABS score less than 4.0                      O Additional timz                     (X) Patient-inmate asked ques~ions.
   O DPH Q DPV O LD                                O Equipment Q SLI                     (X) Patient-inmate summed information
  ()DPS (X) DNH                                   (x) Loudzr (X)Slower                   PLEASE CHECK ONE
  ()DNS Q DDP                                     (X) Basic Q Transcribe                 O Not reached' (X) Reached
   O No[ Applicable                                O Other*                                *Sze Chrono/notes
   CO~t~tENTS:




    X 51
    Scott Lee, hid
    Digitally Authenticated on 7/2/2014 3:1Z PM


  SL/ab D: 06/30;2014 L0:43:00 am                           T: 07/0 U20;4 01:49:1 ~ pm           Joe ~: 9ssls~




  DICTATED BY Scott Lee, SID
  N G[,'YEN T(E~                        DOf3: !2/09/1 937      P1ge? of ~                DOS: 06;30/201                    Pl:?~~
   MEDICATION ADMINISTRATION RECORD                                                                                                                                                                                                                           (^i0
                                                                                                                                                                                                                              .,ti... _.........~_.~.......w..•.
   NAME OF RWWN/LPT ~T~ ^y~ 'py                   INITIAL    w NAME OF RNlLVNILPT         ^yY                 INITIALO    ~ NAME OF RN/LVN/LPT A           "^         ,~~                                                                                        i
                                                                                                                                                                                 INITIAL ~        NAM.E    F RN/LVNILPT_~r~ »~+ ~      INITIAL ~~~
       _- _ ._-~.---- -- ~_r~~ ___ ~ I~ T r... ~- _~__ _ _.~._ ~_~...w~_ _ _ _~_ _~.~ r.._ _._._. _._ ~ _~- ---._. ._ _ .._.... _ . ~ -                                                          _..~
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r.-~_.._ _.~-_......._ _......~._~......._..._. ,..~.__.. _~...,,-- r......._........................r,....,~ ._r...._...._.~.~..~~_....,.~_ ...__....~ ....._..._......~.i. ~..                               -     ----- - —        - —— -                         --"`1
  "
  "KOP *"' DOXYCYCLINE HYCLATE 100 MG CAPSULE (doxycycline hyclate 100 mg                                                                     Fin oa~e: eis~zo~a            Orig FIII Date: 8/2/2 14                Rx#:156861289
  cap)
  TAKE 1 CAPSULE BY MOUTH TWICE DAILY UNTIL GONE "*KOP"                                                                                       Days Supply: 14               Expire Date: 6!1 ~ o                   Doctor: C. GUTANG-MD

                                                                                                                            ign                                                                                        Date

 "
 '  KOP `*" HYDROCORTISONE 1 %CREAM (G)(hydrocortisone 1 %cream)                                                                                FIII Date: 6/212014          Orig Fill Date: 6/212014              Rx#: 156857156
 APPLY RECTALLY DAILY AS NEEDED FOR HEMORRHOIDS(MUST LAST 1 MONTH)                                                                              Days Supply: JO              Expire Date: 8/74!2014                Doctor: D. TAYLOR-MD
 "REQUEST REFILL"
                                                                                                                                                                                                                       Date
                                                                                                                                                                                                                                                                                  Case 2:15-cv-07600-PSG-AS




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     NO KNOWN DRUG ALLERGIES
                                                                                                                                                                                                                                                                            #:353




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   Name: NGUYEN,TIEN  ~                                                                           Building:   CMC-West-Unit 4                                               Housing                                          Additional Pages In Use
__.DOB-_ 12/9/19J7 ~~~-                                               ------ - -                  c~cR u P12755 Y_~~~._ I                                    G 023 1000027E ~~                                                 Yes            No
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  MEDICATION ADMINISTRATION RECORD
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  50 mg tab ud)
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Case 2:15-cv-07600-PSG-AS                  Document 22 Filed 10/11/16                                  Page 55 of 87 Page ID
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                                   -AS Document 1 Filed 09/28/15 Page 13 of 64 Page ID #:13                                           ~~
 NAME
                                                                                                            CDC NUME3ER
NGL~EN,TIEN                                                                                                 P 12755
INS'CITUTION                                               SIDC              FA lL Y          BLDG          CELL
CMC                                                             W                 G               23        027E
TYPE OF TEST
                                                                                                            DATE OF TEST
Lab                                                                                                        `: 10/16/13 _
    YOUR TEST RESULTS HAVE BEEN EVALUATED BY A PHYSICIAN AND THE
                                                                                            FOLLOWIYG IIAS BEEN DETERMINED
  Your test results are essentially within normal limits or are unchanged and no physician follow
                                                                                                  up is required.
  You are being scheduled for a follow up medical appointment. You will be receiving a ducat
                                                                                                indicating your
❑ A repeat test will be ordered. You will be ducated for this test.
❑ A chronic care appointment has been scheduled for you. You will be receiving a ducat indicating
                                                                                                    your
                                              Additional Information



                    Guiang, C. MD
                    PRINTED NAME /TITLE                                                          ~C~
                                                                                                   f
                                                                                          ~.3~~f9,T.~.~3
           PRIMARY CARE PROVIDER SIGNATURE                                                 ~~3?~~~~:~                  DATE:




 NOT[FICAT[Ov OI' D(,~GtiOSTIC TEST RGSL'LTS
 CDCR 7393 (Rev. 03/07)


 NAME                                                                                                        CDC NUMBER
 NGUYEN,TIEN                                                                                                 P12755
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 CMC                                                              W                   G            23        017E
 TYPE OF TEST                                                                                                DATE OF TEST
 Lab                                                                                                         7/24/15
    YOUR TEST RESULTS HAVE BEEN EVALUATED BY A PHYSICIAN AND THE FOLLOtiVING FIAS
                                                                                                                    BEEN DETERM[YED
 ❑ Your test results are essentially within normal limits or are unchanged and no physiciap follow up is required.
 ❑ You are being scheduled for a follow up medical appointment. You will be receiving a ducat indicating
                                                                                                             your
 ❑   repeat test will be ordered. You will be ducated for this test.
   A chronic care appointment has been scheduled for you. You will be receiving a ducat indicating your
                                               Additional Information



                     Guiang, C. MD                           ,.,~:5~
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               PRfMARY CARE PROVIDER SfGi~ ~ RE                   •.                                                        DATE:
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       Case 2:15-cv-07600-PSG-AS                                    Document 22 Filed 10/11/16                                               Page 56 of 87 Page ID
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       STATE OF CALLFOR?11A
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                                                                   -ES REQUEST:FORi~I                                                                         DEPgRTMEYI'OF COR,gECTI
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                                                         PART I:. TO BE COl~IP.T,ETED BY:THE PAT1ErT .
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                               If you believe this is an urgent emergent health care need,
                                                                                                  contact the correctional officer,on duty.
       REQUEST FOR:                        biEDIC.~L.~j              1~IENTAL HEALTH ~ -                            DENTAL ~ ~                        MEDICATION REFIL
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       PATIEDI'I SIGNAi'URE
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  Robert A. Bui7on, Inspector General                             ~               ~ ~~                      Orfrce ofthe lnspeclor Gene~•nl


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  August 18, 2014


  Tien Nguyen P12755
  California Men's Colony
  P.O. Box 8101
  San Luis Obispo CA 93409-8101

  Dear Tien Nguyen:

  The Office of the Inspector General has received your correspondence. We conducted a review
  into the issues you raised and determined no intervention is warranted by our. office at this time.

  While we conducted a review of your concerns, it is not possible for us to fully research and
  respond separately to each complaint. Therefore, we focus our resources on issues where the
  greatest need for our assistance exists. We believe that in this way we can provide the greatest
  benefit to you and others who have been affected.

  If you have not done so already, we encourage you to continue using available administrative
  grievance remedies. Please contact your correctional counselor for advice and assistance
  regarding questions about the process or the status of your appeal/grievance.

     If your appeal has been cancelled, and you dispute the reasons for cancelling your appeal, you may
.~ file a new appeal disputing the appeal coordinator's reasons for cancelation, explaining why the.,
~ a cancelation was improper or why_the appeal should have been processed anyway_;You should
 ~~~ attach the original appeal and the cancelation notice with any documentation supporting your
     claim that the appeal was improperly rejected, and submit the whole package to the appeals
     coordinator. Please be advised that you must allow 30 business days for a response to your
     appeal.

  Please note our new mailing address is as follows:
  Office of the Inspector Creneral
  1 U 111 Oid riacerviile Road #i i v
  Sacramento CA 95827

  Thank you for bringing your concerns to our attention. The Office of the Inspector General
  considers this matter closed.

  INTAKE AND REVIEW UNIT
  Office of the Inspector General


  SV: XX-XXXXXXX-01 (XX-XXXXXXX-PI)


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                                                                                                                                  FOR STAFF USE ONLY
  You may appeal any Califom~a Department of Corrections and Rehabilitation (CDCRj decision,
                                                                                                      action, condition, policy or regulation that has a material
  adversa effect upon your welfare and for which there is no other prescribed method
                                                                                             of departmental review/remedy available. See California Code
  Regulations. Tit;e 15, Section (CCR)308 .1. Yeu must send this appeal and any supporting                                                                     of
                                                                                                  documents to the Appeals Coordinator (AC) within 30 calendar
  days of the event that lead to the filing of this appeal. If additional space is needed, o~
                                                                                               one CDCR Form 602-A will be accepted. Refer to CCR 3084
  further guidance with the appeal process. No reprisals will be taken for using the appeal                                                                   for
                                                                                            process.                                               „
    Appeal is subject to rejection if one row of text per line is exceeded.                                                                     ,
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      State briefly the subject of your appeal (Example: damaged TV, job removal, etc.:                                                                                          "~r,~t
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      A. Explain your issue ~If you need more space, use Section A of the CDCR 602•A):
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      Supporting Documents: Refier to CCR 3084.3.
      ❑ Yes, I have a~tached supporting documents.
      List su~por;irg dccumzrts attached (e.g., CDC 1pg3, Inmate Property Inventory; CDC 128-G, Classificat
                                                                                                                                 ion Chrono):




      ❑ No, I have not a!tached any supporting documents. Reason
              o              (           / ~




   InmatelParolee Signature:                                                                    Da;e Submitted:
                   By placing my initials in this box, I waivz my right to receive an interview.
  C. Firs: Level -Staff Use Only                                              Sta`f-Check One: Is CDCR 602•A Attached? Q Yes                                           ❑ No
  Thls appeal has been:
  ❑ 6ypasszd a: the First Level of Revie~N. Ge to Section E. //'      /
  ~Raj2cted (See a;?ached letter for instruction) Da?e: ~~' ~ ` :'4~.~~ ~ Date
                                                                                               Date:                  Date:
  ❑ Cancelled (See attached letter) Date:
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  First Level P.esponder. Complete a First Level response. Include Inter✓iewer's name,
                                                                                                          title, intervieev date, location, and complete the section below.
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  Your appeal issue is:          ❑Granted          ❑Granted in Part            ❑Denied               ❑Other.
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  I rteriiewer.                                              Title:                 Signature:
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Attaeh this form to the CDCR 60~, only if more space is needed. Only one CDCR 60~.A may be used.
Appeal is subject to rejection if one rcw of text per line is exceedad.                       WRITE,PRINT, or TYPE CLEARLY i~ black or blue ink.


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 A. Continuation of CDCR 602, Section A only (Explain


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 Inmate/Parolee Signature:



 B. Continuation of CDCR 602, Section B only (Action requested):




  Inmate/Parolee Signature:                                                                          Date Submitted:
                       Case 2:15-cv-07600-PSG-AS                               Document 22 Filed 10/11/16                      Page 61 of 87 Page ID
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            You are eligible for a comprehensive dental examination.
            If you would like to receive an examination please write "I want a
                                                                               dental exam" on a CDCR Form 7362
            Health Care Services Request for Treatment and turn it in.
            You will NOT be charged a $5 co-pay for the dental examination.
            If you do not want to receive a comprehensive dental examination
                                                                             at this time, you may still submit a
            CDCR Form 7362 at any time you feel you need urgent dental
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   STATE OF-CALIFORi~1IA                                                                      ~. Clark Kelso, Receiver
   PRISON HEALTH CARE SERVICES                                                                 ~        ~
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   January 18, 2011



   Mr. Tien Nguyen, P-12755
   Centinela State Prison
   P.O. Box 731
   Imperial, CA 92251-0731

   Dear?~~r: I`Iau}~en:

   This is in response to your correspondence dated October 15 and December 6, 201 U, addressed to the
                                                                                                          Director
   of Appeals and Office of Third Level Appeals, regarding tt,e dental- care and treatment you are receiving
                                                                                                             while
   incarcerated at Centinela State Prison(CEl~, California- Department of Corrections and Rehabilitation
                                                                                                         (CDCR).
   Your correspondence was forwarded to the Controlled Correspondence Unit (CCU), Prison Health
                                                                                                              Care
   Services for review. I have been asked to respond to your concerns.

   In your correspondence you state:
       • Privileged inmate-patient's receive antibiotics.for pre-surgery and again after teeth extractions.
          Noii-privileged inmate-patient's go to ~ 2"'~ station end receive ;eneric penicillin.
      • You were seen a~1d examined on October 4, ?010, for a toothache at which time you were prescribed
          pain ;nedication:
       o You received a Dental Exam Eligibility Not cation; however, you state tris is a "bogus" form CDCR
          would never issue.                                                                             '
      • You were notified ari x-ray was 'ordered to help assist the dentist in confirming your restoration
          treatment plan.
      • You feel L. Smith and I. Parker are not full dentists and are only undergraduate dentists instead.
          Dental staff creates excuses to delay apatient-inmate's dental treatment,.
       a I'cu a~ached doc~e~is pertairirg to your ~?~sa~reement regarding. year rental u~eatment.

   You request immediate intervention on your behalf in order to receive the dental treatment you deserve.

  CCU contacted CEN health care staff who provided documentation fiom your Unit Health Record (UHR)and
  health care appeal history for review. In your letters, you state that privileged patient-iiunates receive
  amoxicillin before and after extractions and non-privileged patient-inmates may receive generic penicillin.
  Please be advised antibiotic regimens can vary due to different health problems patient-inriates may h<<ve.
  Some may require pre and post operative medication and some may not. The medications you listed are both
  antibiotics and aze prescribed'.~at the dental provider's discretion. It is not a case of privileged
  vs. non-privileged. On Octobzr 4~', 2010, you were seen in the dental clinic and prescribed pain meclicltion, but
  no antibiotics. As. stated above, antibiotics are .prescribed at die dental provider's discre;tian. Iit addition, you
  stated you were sent a "bogus" CDCR form. The Esaxii Notification you received is a new form created by the
  CDCR Dental Program to inform patient-irunates they are~eligible to receive a cainprehensive exan~ if they wish
  to have one. Furthermore, you also stated an x-ray was ordered to assist the dentist in confirming your
                                  P.O. Box 4038 •Sacramento, CA 95812-4038
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        I~ir-Tien Nguyen; P-1275
        January 18,2011
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      treatment plan. This is a reasonable request. It would be poor practice for a dentist to implemen
                                                                                                            t a treatment
      plan with no x-rays to corm decay, infection or any other conditions which may be present.
                                                                                                            You feel that
      L. Smith and I. Parker are not real dentists, but "undergraduate dentists". CDCR does not hire
                                                                                                          dental students
      or "undergraduates" to work as dentists in the clinics. The Inmate Dental Services Program (IDSP)
                                                                                                             Policies and
      Procedures Manual, Chapter 4.2, Section IV, A, states inpart: Applicants are not eligible for
                                                                                                             employment
      without proofofcurrent licensure, certification and/or credentials. You also feel sta~'f creates
                                                                                                       excuses to delay
      treatment. You have been seen in the clinic several times between March of 2009 and October of
                                                                                                            2010. Twice
      you have- refused treatment. Your triage visits appeaz to have been scheduled in a timely manner.
                                                                                                            Based on the
      infornlation received and reviewed, it appears CEN dental staff is providing for your dental care
                                                                                                           and treatment
      .zeds.
      :                                                                         ~                       ..    _.

       Please be advised, while you have a right to request treatrnent, it is inappropriate for a patient
                                                                                                          to recommend a
       treatment plan, or specific medications, and then expect the dentist to implement that request.
                                                                                                          This decision is.
       based on t~'~e criteria set forth in California Code of Regulations, Title 1~ § 3354(a), which
                                                                                                        states in part: (a)
       A uthorised Staff. Onlyfacility-employed healtR care staff, contractors paid to perform health
                                                                                                           servicesfor the
      facility, or persons employed as health care consr~ltants shall be permitted, within. the scone
                                                                                                        oftheir licensure,
       to diagnose illness or prescribe medication and health care treatment for inmates. No other
                                                                                                             personnel or
       inmates may do so.

       The irunate appeal process descried.in the California Code of Re;ulations, Title 15, is an important
                                                                                                            part of the
       steps available for inmates to resolve matters that affect their welfare while in prison. Inmate
                                                                                                           health care
       appeals are reviewed and answered c~sefully and thoroughly. A review of the appeals history at CEN
                                                                                                             indicates
       you have not filed any health care appeals regarding the issues you wrote about.

      If you need further health care services, you should use the "sick call" process by completing a
                                                                                                       Health Cate
      Services Request Porm, CDC 7362,to request an appointment with health care staff.

       I hope this information has been of assistance to you.             i'~ -fie ~~Jn ~~Cc ~~io~ti~pf                    C
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      Staff Services;~lanager~I:'                                     /`P~~~ E /Q~(r ~ol7`r~9- ~ cl ehGe~ ~v
      Controlled Correspondence Unit

      cc:     Regional Administrator, Southern
              Deputy ib1edica1 Executive, Southern
              Regional Dental Director, Region N                                                                .
              Deputy Statewide Dental Director                                                                 ~
              Chief Executive Officer. —Health Care, CEN
              Supervising Dentist, CEN

                                        P.O. Box 4038 •Sacramento, CA 9812-4038


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    Case 2:15-cv-07600-PSG-AS              Document 22 Filed 10/11/16                Page 74 of 87 Page ID
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                                                            n~aoE~s~~,vA~                            v~,~o~r,oR
     DIVISION OF ADULT INSTITUTIONS
     P.O. Box 942883
     Sacramento, CA 94283-0001
                                                                                                                 S   g

                                                                                                                +r
                                                                                                      ~~oF e~ut^"

           December 22, 2010




           Mr. T. Nguyen
           CDCR P12755
           Centinela State Prison
           P.O. Box 931-D3-106L
           Imperial, Ca 92251

           Mr. Nguyen:

          Your letter addressed to the Director of the Department of Corrections
                                                                                 has been
          forwarded to me for response.

          In your fetter you allege misconduct and misrepresentation of reports by several
          in your Facility, at Centinela State Prison (CEN). We understand your concer     dentists
                                                                                             n and
          appreciate you having taken the time to submit the information.

          Your complaint alleges that you have received inadequate care,
                                                                                    inaccurate
          informational hand outs, and harassment during dental procedures, as well as
                                                                                       several
          dentists acting unprofessional during treatments.

         The California Department of Corrections and Rehabilitation (CDCR)have severa
                                                                                                      l ways
         in which staff complaints are handled. Each institution has an office that
                                                                                                investigates
         staff complainfs. The Department's Office of Interna
                                                    __ ...._ .. .. ... .l Affairs
                                                                          ... :.  investigates more serious_
         staff misconduct and tje~fficeof She Inspect         or General of the State of, California is
         actively involved in investigations within CDCR.;"~~omplete and accurate
                                                                                                 information
         such as dates, times, escrip ions, andwitnesses are necessary to initiate a
         investigation. Alfegatians absent this critical information are difficult to addres formal
                                                                                                    s. The
         above-named entities consistently investigate situations throughout .the
                                                                                                       State.
         Appropriate action is taken when enough evidence is available to corroborate
                                                                                                      wrong
         doing by staff or inmates.

         A fact-finding investigation concerning this matter might be conducted at the
                                                                                       institutional
         level. All the individuals with information. pertinent to your complaint
                                                                                         might be
         interviewed. All staff personnel matters are confidential; as such, the details
                                                                                            of any
         inquiries will not be shared with staff, members of the public, or
                                                                                          Inmates.
         The CDCR recognizes the importance of maintaining a high level of staff conduc
                                                                                             t and
         professionalism at all times.
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                                          #:376
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        - - Mr. T: Nguyen
            Page 2



          The California Code of Regulations, Title
                                                      ?5, Article 8, Subsection 3084.1, Right to
          Appeal, (a) states in part, "Any inmate or
                                                      parolee under the departments jurisdiction
          may appeal any. department decision, acti
                                                        on, condition, or policy, which they can
         demonstrate as having an adverse effect upon
                                                         their welfare.°
         Per Title 15, Section 3084.2, "Appeal Preparat
                                                          ion," an Inmate/Parolee Appeal alleging
         misconduct by a departmental peace officer
                                                       is considered to be a Citizen's Complain
         Therefore,. an inmatelparolee wishing to                                               t.
                                                    .file a Citizen's Complaint shall utilize the
         existing departmental appeals procedure utili
                                                        zing the CDCR Form 602, Inmate/Parolee
         Appea! Form, #fl dz~cribe the problem and
                                                             action requested. The guidelines
         documented in CDCR, Title 15, Section 3084 must
                                                              be strictly adhered to.
         If you have any questions or require
                                                  addition
         meat P.O. Box 942883, Sacramento,. CA 94283-00 al informatioh, please contact
                                                        01. -



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          ~~~~►iJ
        e wi~euR
        Correctional Lieutenant
        General Population Levels III/IV
        Division of Adult Institutions

        cc: Domingo Uribe, Jr., Warden (A), Centinela Stat
                                                          e Prison
Case 2:15-cv-07600-PSG-AS        Document 22 Filed 10/11/16         Page 76 of 87 Page ID
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      Case 2:15-cv-07600-PSG-AS                              Document 22 Filed 10/11/16                                  Page 77 of 87 Page ID
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      wren-~arr~                                     ~                                                                                                  ~6
   STATE-'OF'CALIFORNI91'                            ~                                                               DEPARTMEtJT OF CORRECTIONS AhD REHABtLITAT101
 - ~~I1~'         bItEEE~E~..L~~eAF~.                                                                                                 PRISOrI HEALTH CARE SERVICE:
                ~ b" --~~
              4,~,                                                                                                                                                 stde i
                                                                       Location: Institution/Parole Region:    Log ll:                         Category:
                                                                                 1. _                          1.                                1.
                                                                                 2                             2


     You may appeal any policy, action or decision which has a significant adverse affect upon you. This form shall be used when
                                                                                                                                           the policy, action or decision
     being appealed involves health care sarvices (medical, dental, or menial heafih sen~ices). You must first in(ormaily seek relief
                                                                                                                                             through discussion with ihE
     appropriate staff member or by utilizing the health care service processes at you institution. if you ark not then satisfied, yo~~ may send
                                                                                                                                                  your appeal with all the
     supporting documents and not more than one additional page cf comments to the Health Care Appeals Coordinator within 15 days
                                                                                                                                                of tho action take. Mc
     reprisals wii! ba taken Ion using the appeals procedure responsibility.

       NAME                                       NUM3E _                       ASSfGN~dENT                                   1              UNIT/ROOM NU~R _
             rY~'l~Lt l'C11~ 7'~~N                        `~/~7,r`                          Oh S'fCl~r~~ y 2~ s~                             Ij~.IU                    ~,
       A. Descri e Problem:              ~e
                                          ~ .S   ~" ~                                                          ~                              ~
•~c'r~r~ c ~~~. C~d~l'1 Uc~~ ~jnf~y. i,{ ~(3-Gily - ne
`                                                                                                   ~c~ G7~ ~ t~h2JSA
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,~                             ~r           ~                  ~~~                         e-                 ro~ l,~j>ev~ lac                             ~ -~'n~
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                  -~er~t~sh'.~~-e~ ~~~a~-~tc~s'u~~o~'c,~z~i"n                                            n.~3~ ~r.~nti~m .lo ~ ~~'.                                     .
~Z~                a
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  r If ou need mores ace, attach one additional s eeL                                                                     ~                  ~~       /~e1Yf ~!'L
      B. Action Requested:                  '                                                           '~-      ~            r   l~                       ~      ~
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                                                                         ,~G~~ ~%s.~
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  d!~'a                       ~-          c;r~ a L~`n~'c ., ~n46, 'c ~?rc5 ~% .                               e ,De.rr is           G~`~ ~h " 1~~~r~~'' c~~ic~

      Inmate/Parolee Signature:   l    `- ~ror    Date Submitted: " f !'3 f / / f3 ?S'
                                             ~~~—
      C. INFORMAL LEVEL (Date Received   nr
      Staff Response:

                                                                           ,~




      Statf Signature:                                                                             Date Returned to Inmate:
                                                                                                                                                               ~•1 h
     D. FORMAL LEVEL
     If you ara dissatisfied, explain below, attach supporting documents (Health Care Service Request Form, COC 7362,
                                                                                                                        Comprehensive Accommodation
     Chrono, CDC 7410, Trust Account Statement, etc.) and submit for processing to the kealth Care Appeals Coordinator.at
                                                                                                                          your location within 15 days of
     receipt of response.




     Signature:                                                                                   Date Submitted:


                                                                                                                                                  CDCR Appeal NumSe

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         Case 2:15-cv-07600-PSG-AS                            Document 22 Filed 10/11/16                                 Page 78 of 87 Page ID
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               ~                          0-PSG-AS             ¢~ument 1 `~Fileci 09/28/15 ~ay~"~
  PEAL FORM                                                    ;~..                              ~~~°~aEs5                                     ~`~f c~r~'~E vtcEs
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 OCR 602-HC (6/08)
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                                                              M~~ r~               _ _ ._ .__. --• .._..
                                                                ,~,,~t
    FIRST LEVEL:      ❑Granted         ❑ P. Granted          ❑ Denied ~ ~ `~ Other

    E.,REVIEWER'S ACTION (Complete with 15 working days): Date assigned:
         .,                                                                                                             Due Date:
    Interiiewed by:




  Staff Signature:                                                       Title:                                              Date:
  Division Head Approval•
  StaH:Signature:                                                        Title:                                    Date Returned to Inmate:

  F. M dissatisfied, explain reasons for requesting aSecond-Level Review, and
                                                                              submit for processing to the Health Care Appeals coordinator at your location
  within 15 days of receipt of response:




 Signature:                                              ~                                     Date Submitted:

 SECOND LEVEL:         ❑Granted         ❑ P. Granted         Q Denied            ❑Other
 Gr` REVIEWER'S ACTION (Complete with 10 working days): Date assigned:
                                                                                                                       Due Date:
 ❑ See Attached Letter
 Signature:
                                                                                              Date Submitted:
 Health ,Care Services
 Hufng Authority Signature:                                                        Title:                               Date Returned to Inmate:
H. !f dissatisfied, add data or reasons for requesting a Director's Level Review,
                                                                                     and submit by mail to the third level within 15 days of receipt of response.




Slgnaturec
                                                                                             Date Submitted:

For the D(rector's Review of Health Care issues, submit all documents to:         Office of Third Level Appeals —Health Care
                                                                                  P 0 Box 4038
              __            _                   _`__                              Sacramento, CA 95812.4038                               ^__          ____,~.
DIRECTOR'S ACTION: ❑Granted                ❑ P. Granted        ❑Denied              ❑Other
❑ See`Attacned Letter

                        t                                                ...,.                   .. ,                     Date:


                        ;~Y

~            ~,                                     ~~•                                                                                           ..
     Case 2:15-cv-07600-PSG-AS                  Document 22 Filed 10/11/16              Page 79 of 87 Page ID
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         Case 215-cv-07600-PSG-AS Docur~ient 1 Filed 09/28/15 Page 56 of 64 Page ID #:56
                                                                                                                         ~~
      STATE OF CALIFORNIA
                                                                                          DEPARTMENT OF CORRECTIONS
      CENTIN£'.A STATE PRISON/IMPERIAL .        _
      1V1E-MORAND UM                                             -        ~               -
    .
    . APPEAL RESPONSE LEVEL:                        FIRST
     DATE:                                          Monda January 24,2005
     TO:                                            NGUYEN, 'TIEN
     CDC #:                                         P12755
     APPEAL LOG #:                                  D-04-01848
    ISSUE APPEALED:                                 Mental Health
    INTERVLFW:
    You were interviewed on 1/20/05, by C. Cook,Staff
                                                      Services Analyst with the Inmate Medical
    Tracking Program, regarding your appeal issue.                                             Appeals

    PROBLEM DESCRIPTION /ACTION REQUESTED
                                                             ;
   You are requesting a mental health. consultation, urias
                                                           signment from vocational small engine
   vision and hearing limitations and medication, clai                                            repair due to
                                                        m you should not have been assigned to
   paint due to respiratory problems, request to be                                            vocational auto
                                                    unassigned, and complain that it took over
   dental appointment - so you pulled your own tooth.                                          a monde for a

   APPEAL RESPONSE:
    1)You have been scheduled for a mental health consu
                                                            ltation-and should be ducated within the
    weeks.                                                                                              next two
                                                                       r~
   2)You do not have any_visual_orhearing limitation
                                                          chronos. ~ ~Y,~~~i:.'-%`
   3)You have a respirator clearance chrono dated 11/2
                                                           4/04 that is valid for one year, copy attac
   has also been provided to your correctional counselo                                                hed. A copy
                                                          r to assist him/her in determining an
   assignment.                                                                                  appropriate
  4).There is rio recomrrendatioa far medical unassi;r_m
                                                             ent. You have a physical limitation
   1 1/24/04 that is valid for one year, copy attached. A copy                                     chrono dated
                                                                 has also been provided to your corre
  counselor to assist him/her in determining an appropriat                                            ctional
                                                              e assignment.
~ 5 Most of our dental, clinics are ,our to ix wee cs ac
                                                                kland any dental emergencies are
                                                               ~ed'
  forthwith. You should have re orted to the me Ica                                                   seen
                                                         c tni on your yard if you were having a
t~emergency~that could not wait for a regular appo                                                  dental
                                                     intment.7"h~n l.~~j~ ~Pv~~~~.:'~crc~:~.~~ ~f~%~ y'~~-
                                                                                                            ~` ~ysu P~
  APPEAL DECISION: Partially Granted
                                                             iC~~I~:I .$'off thei~r ~~~r~ 1Glc'~`E►~s .:;, ,~U'c.;.;%
                                                             ~
                                                             GV~ ~l1rt~ t~ve. ~,~ ~


                    :,Thornton, Ni.D.
                                                                                  G Cook                                 >~
                    Staff Physician                                      Medical Appeals Coordinator
                                                                                                                         ~. e

                                  Page 1 of 1
          Case 2:15-cv-07600-PSG-AS                                          Document 22 Filed 10/11/16                                        Page 80 of 87 Page ID
                                                                                    #:381                                                                                                 ~Y
          ", Case 2:15-cv-                           ~                      Docu .'          1           d 09/28/~~ Page 54 of 64 Page ID #:54
.~
      STATE OF CALIFORNIA                                                                               ~'"                                DEPARTMENT OF COfiRECTIONS AND REHABILITATION
      IFJMASTSF./~~OL~C~-AL~FILARE~                                               ~°"- .,.,,,, •-~-'""`~                                                   PRISON HEALTH GAGE SEaVICES
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                                          ~      ~ YA
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     ~T~cL                                                                                                                                                                       ~      Side 1
                                                G~
                                                                                    Location: Institution/Parole Region:             Log ~i:             _ ,.,_. ___ _ Ca~egory:_,_ _
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                                                                                                 2.                                  2.

      You may appeal any ;policy, action or decision which has a significant adverse affect upon you. This form shall be used when the policy, action or decision
      being appealed involves health care sarvicas (medical, dental, or mental heal'~h servicas). You must first informally seek reliefi through discussion with the
      appropri2te stall member oi' by utilizing the hezlih care service processes at you institution. If you ara not then satisfied, you may send your appeal with
                                                                                                                                                                   all the
      supporting documents and not more t~ian one additional page of comments to ?he Haalth Care Appeals Coordinator within i5 days of tho action take. Pdo
      reprisals will be taken for using the appeals procedure responsibility.

          N AME                                                    NUM9ER                    ASSfGNh7ENT                                            ~~
                                                                    /~ ~-~7s-s~                       „ n n s~ahc~h y Gr~                                            U iT/ROOM NUMBEP. .
                  MG r,Lyc~v T_                                                                                   ~         1~ 3 ~ fv~ L.
          A. Describe Problem:                                     0.1„ 17i C'~ ~~'s .~~.~Gf-J•-1zb~, Qnr~ M~m.r,•%~~S'I • l~~~ I6-u
                                         ..~_ ~
                                         .




      V




              ou need more space, attach one additional sheet,
          B. Action Requested:•t~~~~~~)t'~1~Q ~7 ~'~-j"S~y?,                                                  _T71_i~_C/J l~h. ~ O~~~~:(,UOr'h - o~~_R ~a r~~
          j                , ~                                                       .,.~.                                                                                               '~.

     'or-9~~'P P ~1 ._.. ~- S'S~G!C~I"3C ~- J tt)                                                        ~                       ~                ~~                        l~
              ice.~n .e,~     ~l    ./1 i Y1 ~]f:...~ iln if //1 ~1         ~~.i Yl ~7A Y`I      .A 9n       Q /7 F J~~     _~ I"/o~ ✓ ~   .77.Y ~ G 6M n i Yw~ i~N/J •~ri A


                                         v                  i          ~           -- ~      r           ~
          I nmate/Parolee Signature:                                                  !                                   ate Submitted:         C E~     ~,~.~ qr~0

          C. INFORPAAL LEVEL(Date Received
          staff Response:
                                our apPea is Par~iallY granted. In respondin to our a eat I C. Cook
                                                                             B Y        PP        ~         CEN/Health Program
 Specia is ..      e.nta ..erv~ces reviewed your Health Record and foun~' you were last seen
                                                                                                 1 I/21!08 and a fiill mouth pe;io-
 scale was comp eted Your current treatment-plan identifies your need for
                                                                                     extensive dental services and you will be
 ducated chron,dlo ically for each seivice in the order df:importanc       hich is
                 s                                                                 determined by your attendin enti .
     staff si9natuE ~                 CDO INITIALS                L~~'           Date Returned to inmate:     —~
          D. FORMAL LEVEL                                                                                                        u ~. `''
          If you are dissatis(ied,~~ezplain.below,.;attach'suppoRing documents (Health Care Service Request Form, CDC 7362, Comprehensive Accommodation
          Chrono, CDC 7410, Trust Account Statement, etc.) and submit for processing to the Health Care Appeals Coordinator at your location within 15 days of
          receipt of response.




          .                        y~'r t.~                                                                          Date Submitted:
                           .,,,           ~

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                                                                  OEC 192008
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       iATE/PAR~Sr
                              ~~~v~Q~~00-PSG-AS Document 1 Filed 09/28/15 ~~A~'~'g4~i~8~E9~'~                                                                        `9i~       ~LITATlON
                                                                                                                                                           PRISON   ALTH CAFE    ERVICES ~~
   ;' PEAL FORM                                   :~ :;;;        '; ~1 ~`•~
     oCR 6o2•HC ~s~oa)
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                                   ~.. .                             ~~ ~.

          FIRST LEVEL:        ❑Granted                  ❑ P. Granted          ❑Denied       ❑Other

          E. REVIEWER'S ACTION (Complete with 15 working days): Date assigned:
                                                                                                                                           Oue Date:
                                    ..                                                                       __             ,_         _
          Interviewed by:




         Staff Signature:                                                               Title:                                                 Date:
         Division Head Approval:
         5tatf SignaWre:~                                                               Title:                                       Oata Returnzd to Irmate:

         F. If dissatisfied, explain reasons for requesting a Second•Level Review,
                                                                                   and submit for processing to the Health Care.Appeals coordinator at your location
         within 15 days of receipt of response:




     Signature:
                                                                                                               Date Submitted:

     SECOND LEVEL:            ❑Granted                      ❑ P. Granted      ❑Denied        ❑ Othec
                                                                                                                                                                                            `
     G. REVIEWER'S ACTION (Complete with 10 working days): Date assigned:
                                                                                                                                           Due Date:
           See Aftached Letter
     Signature: .
                                                                                                               Date Submitted:
    HeaRh Care Services
    Hiring Authority Signature:
                                                                                                  Title:                                   Date Returned to inmate:

    H. If dissatisfied, add data or reasons far requesting a Director's Level Review, and
                                                                                                           submit by mail to the third level within 1 S days of receipt of responsa.




   Signature:                                                                                     __ _        Date Submitted:

   For the Director's Review of Health Care issues, submit all documents to:                     Office of.Third Level Appeals —Health Care
                                                                                                 P O Box 4038
                                                                                                 Sacramento, CA 95812-4038
  DIRECTOR'S ACTION: ❑Granted                                 ❑ P. Granted      ❑Denied            ❑Other.
  ❑:See Attached Letter
                                                                                   ,,

                               N                   ~I
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                                                                                                                                             Date:
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         Case 2:15-cv-07600-PSG-AS                              Document 22 Filed 10/11/16                              Page 82 of 87 Page ID
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         (City, Stace, Zip)                                                                                   ~ 3Y


         (CDC Inmate No.)




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         ~r l~L yFhC 7'~ t~N M!N l~,                                                        )
         (Enter full name of plaintiff in tfiis action.)                                     i
                                                                                             ~
                                                                                                    /^ 1y.
                                                                                                    4   / v J
                                                                                                            r'-      o ~30 ~ p4(~~yA)
                                                                 Plaintiff,                 )            Civil Case No.
                                                                                                        (Co 6e supplied by Court Clerk)

            V.


          G,GIu~2 bl~N~.!,t/l~cl(,n„p,~'~                                                    }           Complaint Under the
                                                                                                         Civil Rights Act
     (- 1 _ ~~I~~~aoLS ~Gc~c~~ysel~~~ J                                                     )~           42 U.S.C. § 1983

                                                                                             ~      ~           ~'         t"
         (Enter full name Of each defendant in this action.)
                                                                 Defendant(s).              )                                                           ~
                                                                                                                                                        '~
          A. Jurisdiction

          Jurisdiction is invoked pursuant to 28 U.S.C. § 1343.(a)(3) and 42 U.S.C. § 1983. If you wish to
          assert jurisdiction under different or additional authority, list them below.


          B. Parties

          1.     taint'         This complaint alleges that the civil rights of Plainti:f, ~1J(~'~~~~~"N TJ~-̀ ~f I~1IkJ~
                                                                              .~""
                                                               ~„~(~,~ ~ ~~ 75'                                    (print PleintiPf's name)
         ~~r T/EN M~nif~ ~' CGyCNJ, who presen y resides at_C~'ll.'T/aVELIa- Sl/~>L-~ ~l~lSv11/
                                                                                                         (malting address or place of confinement)

          f~'         ~~X 9~3j -- XihP~:>~21~L
                                            '  ~ ~ ~~-~~'~                                                ,were violated by the actions

          of the below named individuals. The actions were directed against Plaintiff at_(.eJ~1Q7'hP ~;~. ~brj`S'ph
          ~~rrin~a~ Whc~GL             Vl'S Gen ~ ~~on (dates~'Z~}'I~e/7L d~~~ YLG~I.~ and s~!lL ,~,
 inst~tion/plece where violation occurred)                                              (Count 1}           (Count 2)              (Count 3)
(
          2.      e      dants: (Attach same information on additional pages if you are naming more than 4 defendants.)

                                                                              ~,                              ~r'v'n~nnMEVF~tY0Nb119671 t 96]FORM.COM        Y
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                                                                               . FILED $~
                                     NOT FOR PUBLICATION
                                                                                   MAR 21 2007
                            UNITED STATES COURT OF APPEALS                 CATHY A. CATTERSON CLERK
                                                                              U.S. COURT OF APPEALS

                                     FOR T'HE NINTH CIRCUIT


      NGUYEN TIEN MINH,                                 No. OS-56029

               Plaintiff -Appellant,                    D.C. No. CV-OS-00130-LAB


                                                        MEMORANDUM'
     G.J. GIURBINO, Warden, Warden; et al.,

               Defendants -Appellees..


                         Appeal from the United States District Court
                           for the Southern District of California
                          Larry A. Burns, District Judge,Presiding

                                    Submitted March 12, 2007"


    Before:      ~OZII~SI~~T,~'EAV`'S~; and BYBE,Circuit Judges.

          ~
          (~al~iforni~''state   pnsoner Nguyen Tien Minh appeals"pro se~from the
                                                                                   district
    court's judgment dismissing his 42 U.S.C. § 1983 action for failur
                                                                         e to state a                 .r
    claim. We have jurisdiction under 28 U.S.C. § 1291. We revie
                                                                       w de novo


               This disposition is not appropriate for publication and is not
   precedent except as provided by 9th Cir. R. 363.
                                                                                                 :.
          `~ The panel unanimously finds this case suitable for decision
                                                                         without
   oral argument. See Fed. R. App. P. 34(a)(2).
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          c ~ '..                                                       ~
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      '
      —             dismissals for failure to state a claim under the scree
                                                                            ning provisions of the Prison
                    Litigation Reform Act, 28 U.S.C. § 1915A,Resnick v.
                                                                              Hayes., 213 F.3d 443,447
               (9th Cir. 2000), and we affirm.'

                          The district court properly concluded that Minh's allegation
                                                                                         s that
                defendants failed to process his grievances failed to state claim
                                                                                     s under the First or
                Fourteenth Amendments. See Lewis v. Casey, 518 U.S. 343,.356
                                                                                       (1996)(First
                Amendment requires officials provide prisoners with "the capab
                                                                               ility       of brining
                contemplated challenges to sentences or conditions of confinemen
                                                                                        t before the
               courts"}; Mann v. Adams,855 F.2d 639,640(9th Cir. 1998)
                                                                      (order)(no due
               process right to a prison grievance procedure}.

                         The district court also properly dismissed Minh's claim that
                                                                                         his
               constitutional rights were violated when he was found guilty of
                                                                                      a rules violation
              for failing to report to his work assignment:~SeeFaYmer v. Bren
                                                                                      nan,511 U.S.
               825, 837(1994)("a prison official cannot be found liable under
                                                                                      the Eighth
               Amendment for denying an inmate humane conditions of confi
                                                                                     nement unless the
              official knows of and disregards an excessive risk to inmate
                                                                                  health or safety"};
              Ramirez v. Galaza, 334 F.3d 850, 861 (9th Cir. 2003)(pris
                                                                                oners may challenge
              disciplinary actions that "impose some `atypical and signi
                                                                               ficant hardship ... in
              relation to the ordinary incidents of prison life."').
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              ..                           ~                 _
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                          Finally, the district court properly dismissed Minh's claims that defendant

                   Grosset violated his rights under the Eighth Amendment. vlinh's allegations
                                                                                                                                          that
                   Grosset charged him for chronos, delivered medication td the wrong address,
                                                                                                                                          and
                   refused to accept hi~a4                          ~1~ +~ a~~PaP l~P2tli~rnM~ i~a~~~~~~n~                         -s~-ca~nuc
                                                                         ~~


                                   _,see Estelle v. Gamble,429 U.S. 97,104-OS (1976), and Minh failed
                                                                                                   ~~`~

     ~l4~r~~~ ~ ~!'~ ~                 A~~`Ft' ~                      ,.~~'~~~~i ~" ~~ ~i'~~~i
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                                                                                                   ,  '~...- ~'&a ~°'1'o'E'l~l`1-L~~. ~Ly~,'
                                                                                                      f
                   to a equately allege tha Grosset was res onsible,for the delay in treatment of his

            dental needs,see Ivey v. Board ofRegents of Univ. oy~.Alaska, 673 F.2d 266 268.
     r~~, C.~ ~t       ~      ,milt~~~ ~°~- ~k ~'~~~,~ ,b't3~
                                                            -' ~ ~A ~~'~~~~"~1, ~~',Y'~ 1~ 3 ~~t? ~~''                                                      .
            .9th Cir. 1982 ("Vague and conclusory lle_gations of official participation in civil
    GAG          G       ~~`t~~~ ~n ~tf'~ m~ ~e               '~
       l 'rights violations are not sufficient t~withstand a motion to dismiss.").

                         The remaining contentions lack merit.

                         All pending motions are denied.

                         AFFIRII~IED.                                                                     .,
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